     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 1 of 77 PageID.72

                                                                                                       '



        THE SENATE                                                                                                      1230
        THIRTY—SECOND LEGISLATURE, 2023
        STATE OF HAWAII
                                                                                              S B NO'
                                                                                                   _       _
                                                                                                                        SD. 2
                                                                                                                        HD. 1



                                          A BILL FOR AN ACT
      RELATING TO FIREARMS.


      BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF HAWAII:

                   SECTION            l.        The       legislature finds that there are compelling
      interests in protecting public health, safety,rand welfare from
      the serious hazards associated with firearms and gun violence.
      Although the United States Supreme Court has held that the
      Second Amendment provides                                       for an individual right to keep and
      bear arms for lawful purposes, the Second Amendment is not "a
      regulatory straightjacket".                                            New       York State Rifle & Pistol

      Ass'n, Inc.                   V.     Bruen, 142 S.Ct. 2111, 2133 (2022).                                 States
      retain authority to enact "a 'variety' of gun regulations", id.
10    at 2162 (Kavanaugh, J., concurring), such as prohibitions
11    against the carrying of firearms in sensitive iocations and laws
12    and regulations designed to ensure that those who carry firearms

13    are "'law-abiding, responsible Citizens'",                                                   id.‘at 2131, 2156
l4     (internal citation omitted).
15                The purpose                   of this Act is to clarify, revise, and update
16    Hawaii's firearms laws to mitigate the serious-hazards to public
17    health, safety, and welfare associated with firearms and gun
18    violence, while respecting and protecting the lawful exercise of
      2023-2744 SB1230 CDl SMA-2.dOCX
      1\IIHIﬂllﬂlMlHHHIHIHIHNHHIHNIHINIMIIHIIIMWNHIHWIWHWMIllllHIII!|\H|\||W|MEH|||\   EXHIBIT 1
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 2 of 77 PageID.73
       Page2                                                              1230
                                                             S.B. NO. H£l1
                                                                               0111



      individual rights.            To accomplish       this purpose, this Act amends
      and enacts requirements and processes                 for obtaining a license to
      carry a firearm, updates criteria governing when firearm
      ownership, possession, or control is prohibited, defines
      locations and premises within the State where carrying or
      possessing a firearm is prohibited, prohibits leaving an
      unsecured firearm in a vehicle unattended, and enacts, amends,
      and clarifies other provisions                relating to firearms.
             In prohibiting carrying or possessing firearms in certain
10    locations and premises within the State, this Act is intended to
11    protect areas in which carrying or possessing dangerous weapons
12    has   traditionally been restricted, such as schools and other
13    places frequented by children, government buildings, polling
l4    places, and other analogous locations.
15           This Act also respects the right of private individuals and
l6    entities to Choose for themselves whether to allow or restrict
l7    the carrying of firearms on their property by providing that
18    firearms shall not be carried on private property of another
19    person without the express authorization of the owner, lessee,
20    operator, or manager of the property.                 Recognizing the risks to
21    public health, safety, and welfare associated With firearms and


      2023-2744 SB1230         CD1 SMA~2.dOCX

      HIIHIMIHEIIIIHIMEIWIMWHmWIIWIWINHHIWNMEWIMWNWWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 3 of 77 PageID.74
       Pages                                                             1230
                                                                                                 SB. NO. HI11          8-0-2
                                                                                                                       C111



      gun violence, and based on the                                                     legislature's assessment of
      public sentiment and broadly shared preferences within the
      State, this Act establishes a default rule with respect to
      carrying firearms on private property of another person that
      provides for private entities to "opt—in" to authorize the
      public carry of firearms on their property.
                  This Act also adjusts certain regulatory fees relating to
      firearms.                    These adjustments are warranted because prior fee

      amounts were established by statute decades ago and have not

10    been adjusted to reflect                                           inflation and increased costs
ll    associated with background checks and investigations.
12                 SECTION 2.                      Chapter 134, Hawaii Revised Statutes,                          is
13    amended by adding seven new sections                                                    to part I-to be
14    appropriately designated and to read as follows:
15                 "5134-A                 Carrying or possessing a firearm in certain
16    locations and premises prohibited; penalty.                                                      (a)   A person with

17    a   license issued under section 134—9, or authorized to carry a
18    firearm in accordance with title l8 United States Code section
l9    926B        or 926C, shall not intentionally, knowingly, or recklessly
20    carry or possess a loaded or unloaded firearm, whether the
21    firearm is operable or not, and whether the firearm is concealed


      2023-2744 SB1230                             CD1 SMA-2.dOCX

     lﬂﬂlﬂl‘lﬂulﬂﬂllﬂﬂﬂﬂnIWNIH"HllEIIIHWIIIEWEMIII(IIIHIHIII\IIUWEIEIIHIIIWVHIIKIHIIIHH‘III
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 4 of 77 PageID.75
       Page4
                                                                                  SB. NO. HI11      $3392

                                                                                                    CI11


      or unconcealed, while in any of the following locations and
      pgemises within the State:

                (l)       Any building or office owned, leased,                           or used by the
                          State or a county, and adjacent grounds and parking
                          areas, including any portion of a building or office
                          used for court proceedings,                           legislative business,
                          contested case hearings, agency rulemaking, or other
                          activities of state or county government;
                (2)       Any public             or private hospital, mental health
10                        facility, nursing home, clinic, medical office, urgent
11                        care facility, or other place at which medical or
12                        health services are customarily provided, including
l3                        adjacent parking areas;
14                        Any adult or juvenile detention or correctional

15                        facilggy, prison, or jail, including adjacent parking
16                        areas;
17                       Any bar or restaurant                            serving alcohol or intoxicating
18                        liquor as defined in section 281—1 for consumption on
19                        the premises, including adjacent parking areas;
20                       Any stadium, movie                      theater, or concert hall, or any
21                       place at which a professional, collegiate, high


     2023-2744 SB123O CD1 SMA-2.dOCX
     WIVIHllﬂﬂlllWHIMIWIWMHHIWIIINH"Mill!HHHIIH‘I!WWIW\IWHHHIIHIWIWHWWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 5 of 77 PageID.76
       Page5
                                                    S.B. NO. 3392
                                                             H£l1
                                                                         C111



                  school, amateur, or student sporting event is being
                  held, includigg adjacent parking areas;
                  All public library property, including buildings,
                  facilities, meeting rooms, spaces used for community
                  programming, adjacent grounds, and parking areas;

            (7)   The campus   or premises of any public'or private
                  community college, college, or university, and

                  adjacent parking areas, including buildings,
                  classrooms, laboratories, research facilities,
10                artistic venues, and athletic fields or venues;
ll                The campus   or premises of any public school, charter
12                school, private school, preschool,      summer camp,   or
13                child care facility as defined in section 346—151,
14                including adjacent parking areas, but not including:
15                (A)   A private   residence at which education is
16                      pgovided for children who are all related to one
17                      another by blood, marriage, or adoption; or
18                (B)   A dwelling when not used as a     child care
19                      facilitx;
20          (9)   Any beach, playground, park,     or adjacent parking area,
21                including any state park, state monument, county park,


      2023-2744 SBlZBO CD1 SMA-2.dOCX
      HWWWWEWHWWWWNWMWWMWWMWWWWH MWWWMMNM
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 6 of 77 PageID.77
       Page6
                                                                                              SB. NO.          15392
                                                                                                               H111
                                                                                                               C£l1


                              tennis court, golf course, swimming pool, or other
                              recreation area or facility under control,
                              maintenance, and management of the State or a county,
                              but not including an authorized target range or
                              shooting complex;
                              Any shelter,                     residential, or programmatic facility or
                              adjacent parking area operated by a government entity
                              or charitable organization serving unhoused persons,
                              victims of domestic violence, or children, including
10                            children involved in the juvenile justice system;
ll              (ll)          Any voter service center as defined in section 11—1                                      or
12                            other polling place, including adjacent parking areas;
13

14

15
                (l2)          The premises

                                                                             l
                                                              of any bank or financial institution as
                              defined in section eD—l, including adjacent parking
                              areas;
16                            Any place,                  facility, or vehicle used for public
l7                            transportation or public transit, and adjacent parking
18                            areas, including buses, paratransit vans, bus shelters
19                            and terminals (but not                                   including bus stops located on
20                            public sidewalks), trains, rail stations, and
21                            airEorts;


      2023-2744 8B123O                         CD1 SMA-2.dOCX

     MNIIMHIHHHHlﬂlﬁlﬂ("HIMWﬂlﬂlHlllﬂlﬂHﬂlﬂWll“HIMMl\liSHIEHHIINIWWEHIWI(INIWIWIHIII
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 7 of 77 PageID.78
       Page?
                                                                                                                           S.B. NO.           33°?—

                                                                                                                                              F);   AA




                    (l4)               Any amusement park, aquarium,                                                       carnival, circus, fair,
                                       museum,                    water park, or zoo, including adjacent parking
                                       areas; or
                    (15)               Any public gathering,                                                       public assembly, or special
                                       event conducted on property open to the public,
                                        including any demonstration, march, rally, vigil,
                                       protest, picketing, or other public assembly, for
                                       which a permit is obtained from the federal
                                       government, the State, or a county, and the sidewalk
10                                     or street immediately adjacent to thé public
11                                     gathering, public assembly, or special event; provided
12                                     that there are signs clearly and conspicuously posted
13                                     at visible places along the perimeter of the public
l4                                     gathering, public assembly, or special event.
15                     (b)             This section shall not apply to a person in an exempt
16    category identified in section l34—ll(a).                                                                              It shall be an
17    affirmative defense to any prosecution under this section that a
18    Eerson is:
19                     (l)             Carrying or possessing an unloaded firearm in a police
20                                     station in accordance with section 134—23(a)(6), 134—
21                                     24(a)(6), or l34-25(a)(6);


      2023-2744 SBl23O                                        CD1 SMA-2.dOCX

     HIIHIHIHIIII\ﬁlMINIHIV\IIVH|\I|\|\\|lill\|||ﬂl\lHIIIHWIIVI\|\||!HHI\llﬂlﬁl‘llﬂ‘l‘HWll\\|\\\|\IH\IWHI\|\1||\
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 8 of 77 PageID.79
       Page8                                                              1230
                                                                                       SB. NO.   8-0-2
                                                                                                 H111
                                                                                                 C£11



                               Carrying or possessing an unloaded firearm at an
                              organized, scheduled firearms show or exhibit;
                              Lawfully carrying or possessing a firearm for hunting
                               in compliance with section 134—5;
                              A private                security officer expressly authorized to
                              carry or possess a weapon in a location or premises
                              listed in subsection (a) by the owner, lessee,
                              operator, or manager of the location or premises;
                              provided that the private security officer is acting
10                            within the private security officer's scope of
11                            emgloxment;
12                            Carrying or possessing an unloaded firearm in a
13                            courthouse for evidentiary purposes with the prior
14                            express authorization of the court;
15                            Lawfully present within the person's own home, other
16                            than a college or university dormitory or shelter or
17                            residential facility serving unhoused persons or
18                            victims of domestic violence;
19                            Carrying a firearm pursuant to a license issued under
20                            section 134—9 or in accordance with title l8 United
21                            States Code section 926B or 926C in the immediate area


      2023-2744 SB123O                         CD1 SMA-2.dOCX

     MNIHIMIIIWHIHWIEIHIHIIIWIHIHEIHIIIHHlHlllNHIIH|\|\||HW|!||!W”WIN\WIWIEIIINIHIIW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 9 of 77 PageID.80
       Page9
                                                                 SB. NO.           15392

                                                                                   F31




                      surrounding the person's vehicle within a parking area
                      for the limited purpose of storing or retrieving the
                      firearm;
              (8)     Possessing a firearm in an airport or any place,
                      facility, or vehicle used for public transportation or
                      public transit; provided that the firearm is unloaded
                      and in a locked hard-sided container for the purpose

                      of transporting the firearm;
              (9)     Walking through a public gathering, public assembly,
10                    or special event if necessary to access the person's
11                    residence, place of business, or vehicle; provided
12                    that the person does not loiter or remain longer than
13                    necessary to complete their travel or business; or
14                    Carrying a concealed firearm in accordance with title
15                    18   United States Code section 926B or 926C in a
16                    location or premises within the State that is not a
17                    State or county property,              installation, building,
18                   base, or park, and not a location or premises where a
l9                   private person or entity has prohibited or restricted
20                    the possession of concealed firearms on their
21                    Eroeertx .


     2023—2744 SB1230 CD1 SMA-2.dOCX
     MNIWHHIIIWMMIWIHEIIIIHHHIIIWEWIH“WWII“WWWNHNHIII‘IMHW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 10 of 77 PageID.81
       Page1o                                                             1230
                                                                             SB. NO.           8-0-2




                 (c)      The presence              of a person in any location or premises
      listed in subsection (a) shall be prima facie evidence that the
      Egrson knew it was a location or premises listed in subsection

       (a).
                 (d)      Where       only a portion of a building or office is owned,
      leased, or used by the State or a county,                                 this section shall not
      apply to the portion of the building or office that is not
      owned, leased,                or used by the State or a county, unless carrying
      or possessing a firearm within that portion is otherwise
10    prohibited by this section.
11               (e)      As used         in this section, "private security officer"
12    means any person employed and duly                                 licensed to engage in the
13    pgivate detective or guard business pursuant to chapter 463.
14               (f)      Any person who violates                       this section shall be guilty
15    of a misdemeanor.
16               (g)      If any ordinance of any county of the State
l7    establishing locations where the carrying of firearms is
18    pgohibited is inconsistent with this section or with section
l9    134—E,        the ordinance shall be void to the extent of the
20    inconsistency.




      2023-2744 SB1230                  CD1 SMA~2.dOCX                                                 10

      HIIHIHIHNI\ﬂlllM‘lNl‘lllmNIH“HWHHIMHNIMII"WWWINNIIIINHIHIHIIWWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 11 of 77 PageID.82

                                                                                            3.3. No. 33%
                                                                                                     H£l1
                                                                                                             0111



                   §134—B            Duty to maintain possession of lidense while
       carrying:a firearm; duty to disclose; penalty.                                            (a)     A person

       carrying a firearm pursuant to a license issued under section
       134—9         or in accordance with title 18 United States Code section
       926B       or 926C shall have in the person's immediate possession:
                   (l)        The      license issued under section 134-9 or
                              documentation regarding the person's qualifications
                              under title l8 United States Code section 926B or

                              ﬁg:
10                 (2)        Government—issued photo                              identification; and
11                (3)         Except with respect to firearms that are a part of the
12                            official equipment of any federal agency as provided
13                           under section l34—ll(b), documentary evidence that the
14                            firearm being carried is registered under this
15                            chaEter,
l6    and shall, upon request from a law enforcement officer, present

l7    government—issued photo identification and the license or

18    credentials and evidence of registration.
19                (b)        When a           person carrying a firearm, including a person
20    carrying a firearm pursuant to a license issued under section
21    134—9         or in accordance with title 18 United States Code section


      2023-2744 SB1230                        CD1 SMA-2.dOCX                            .                           11

      }\IIHIHIHIEHIHIWHIMHlﬂﬂlﬂliMlﬂﬂﬂlllmﬂllllﬂiﬂﬂlﬂlmlWWII“WWWEHIEIIINIHIIHHWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 12 of 77 PageID.83

                                                                                                       3.3. No. HI11    1:892

                                                                                                                        CI11


       926B         or 926C, is stopped by a law enforcement officer or is a
       driver or passenger in a vehicle stopped by a law enforcement
      officer, the person cargying a firearm shall immediately
      disclose to the law enforcement officer that the person is
      carrying a firearm, and shall, upon request:
                     (l)          Identify the specific location of the firearm; and
                     (2)          Present to the law enforcement officer a license to
                                  carry a firearm issued under section 134—9 or
                                  documentation regarding the person's qualifications
10

11

12                   (c)
                                  ﬂ
                                  under title 18 United States Code section 926B or



                                  Any person who violates                                        this section‘shall be guilty
13    of a petty misdemeanor.
14                  §134-C                Leaving unsecured firearm in vehicle unattended;
15    penalty.                     (a)         No       person shall intentionally, knowingly, or
16    recklessly store or otherwise leave a loaded or unloaded firearm
17    out of the person's immediate possession or control inside a
18    vehicle without first securely locking the firearm in a safe
19    storage depository that is out of sight from outside of the
20    vehicle.



      2023-2744 SB1230                               CD1 SMA-2.dOCX                                                             12

      \IIHIWINEHIHIHIWIIWI‘ll|\|H|ﬂliﬂl||lW|ﬂHll\HH||||H\|H\|H|\|\llﬂﬂll‘|!||\|1\||MﬁW|H||\WHM
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 13 of 77 PageID.84
       Page13                                                             1230
                                                                        S.B. NO. 8-0-2
                                                                                 HI11
                                                                                          C£11



                (b)     For purposes of this section, "safe storage

      depository" means a safe or other secure impact- and
      tamper—resistant container that, when locked, is incapable of
      being opened without a key, keypad, combination, or other
      unlocking mechanism and is capable of preventing an unauthorized
      Qgrson from obtaining access to or possession of the firearm

      contained therein.                 A vehicle's             trunk or glove‘box alone, even
      if locked, is not a safe storage depository.
                (c)     This section shall not apply to a person in an exempt
10    category identified in section l34—ll(a).
11             (d)      Any person who violates subsection (a)                    shall be guilty
12    of a petty misdemeanor.
13             §134-D        Unlawful conduct while carrying a firearm; penalty.
14     (a)     A person        carrying a firearm shall not:
15             (1)      Consume       alcohol or intoxicating liquor;
16             (2)      Consume a        controlled substance;
17             (3)      Be   under the influence of alcohol or intoxicating
18                      li or; or
19             (4)     Be    under the influence of a controlled substance.
20             (b)     As used in this              section:




      2023-2744 SB1230 CD1 SMA—2.dOCX                                                             l3
      WIWWIWWWllllﬂﬂlﬂllﬂlWl\|H|||W||V"WWIWill“MHIIHIWHIIWHIMI
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 14 of 77 PageID.85
        Page 14                                                                                            1230
                                                                                        S.B. NO. H111     8-0-2
                                                                                                          CI11


                  "Alcohol" and "intoxicating liquor" shall have the same
      meaning as                in section 281—1.
                  "Controlled substance" means a drug, substance, or
      immediate precursor in schedules I through                                            III of part II of
      ChaEter 329.

                   (c)       Any person who violates                               this section shall be guilty
      of a misdemeanor; provided that any person who violates this
      section by consuming or being under the influence of alcohol or
      an intoxicating liquor shall be guilty of a petty misdemeanor.

10                §134-E             Carrying or possessing a firearm on private
11    propertygpf another person without authorizatién; penalty.                                                (a)

12    A person             carrying a firearm pursuant to a license issued under
13    section 134—9 shall not intentionally, knowingly, or recklessly
14    enter or remain on private property of another person while
15    carrying a loaded or unloaded firearm, whether the firearm is
16    gperable or not, and whether the firearm is concealed or
17    unconcealed, unless the person has been given express
18    authorization to carry a firearm on the property by the owner,
19    lessee, operator, or manager of the property.




      2023-2744 SB1230 CD1 SMA—2.dOCX                                                                                 l4
      HIIHIHIHIIEIHIIIIWEEIWIIWWII!”W\‘ﬂlﬂllllﬂllﬂl‘l‘lwHWNHIWIMI{INHIIWMIWWIWIH
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 15 of 77 PageID.86
       Page15                                                             1230
                                                                                    S.B. NO. 8-0-2

                   (b)        For purposes of this section, express authorization to

       carry or possess a firearm on private property shall be
       signified by:
                   (l)        Unambiguous                  written or verbal authorization; or
                   (2)        The posting of                      clear and conspicuous signage at the
                              entrance of the building or on the premises,

      Qy     the owner, lessee, operator, or manager of the property, or
      ggent thereof, indicating that carrying or possessing a firearm
      is authorized.
10                 (c)        For purposes of this section:

11                "Private entity" means any homeowners' association,
12    community association, planned community association,

l3    condominium association, cooperative, or any other

14    nongovernmental entity with covenants, bylaws, or administrative
15    rules, regulations, or provisions governing the use of private
16    Brogertx.
l7                "Private property" does not include property that is owned
18    or leased by any governmental entity.
19                “Private property of another person" means residential,
20    commercial,                  industrial, agricultural, institutional, or
21    undeveloped property that is privately owned or leased, unless


      2023-2744 SB1230 CD1 SMA-2.dOCX                                                                    15

      HlﬂlllHlllllﬂﬂllllﬂﬂlIIIHIIWIHIIIIWWI"MWIIHIMIH\WEEWIIHIIWIW||\|H||\Wﬂlﬂﬂll
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 16 of 77 PageID.87
       Page16                                                             1230
                                                                                S.B. NO. 8-0-2
                                                                                         H111
                                                                                                       C111



      the person carrying a firearm is an owner, lessee, operator, or
      manager of the property,                            including an ownership interest in a
      common         element or limited common element of the property;
      pgovided that nothing in this chapter shall be construed to
      limit the enforceability of a provision in any private rental
      agreement restricting a tenant's possession or‘use of firearms,

      the enforceability of a restrictive covenant restricting the
      Egssession or use of firearms, or the authority of any private
      entity to restrict the possession or use of firearms on private
10    Brogertx.
11               (d)       This section shall not apply to a person in an exempt
12    category identified in section l34—ll(a).
13               (e)      Any person who violates                         this section shall be guilty
14    of a misdemeanor."
15              §134-F          Annual report on licenses to cargxf                       (a)     No   later
l6    than April l, 2024, and April                                l of each year thereafter, the
17    department of the attorney general shall publish a report on its
18    Egblicly available website that includes,                                   if available:
19               (l)      The number of                licenses to carry applied for, issued,
20                        revoked, and denied,                       further categorized by the age,



                                                                                      ‘



      2023—2744 SB1230 CD1 SMA~2.dOCX                                                                          16

      ‘MEIEHIIIIIWIHHlﬂﬂlﬂlﬁlWMIHIIMMHIIMIHIIIWIMWHIIWEMNMIHINHII‘IMIWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 17 of 77 PageID.88
       Page17                                                             1230
                                                                                 S.B. NO. 8-0-2
                                                                                          HI11
                                                                                                     0111



                           gender, race, and county of residence of each
                           applicant or licensee;
                 (2)       The     spgcific reasons for each revocation and denial;
                 (3)       Analysis of denials based on applicants' failure to
                          meet the standards of                           section l34-9(d), and
                           recommendations to remedy any disparities                            in denial
                           rates by age, gender, or race;
                 (4)       The number            of appeals and appeals granted; and
                 (5)       The number of violations                         of section l34—A.
10               (b)      No     later than Februaryrl of each year, the Chief of
11    pglice of each county shall supply the department of the
12    attorney general with the data the department requires to
13    complete the report under subsection (a).
14              §134-G           Failure to conceal a firearm by a concealed carry
15    licensee; penalgy.                        (a)      A person commits          the offense of failure
16    to conceal a firearm by a concealed carry licensee                                     if a person
17    is carrying a firearm pursuant to a license issued under section
18    l34—9(a) and intentionally, knowingly, or recklessly causes

19    alarm to another person by failing to conceal the firearm, even
20    briefly, whether the firearm was loaded or not, and whether
21    oEerable or not.


      2023-2744 SB1230 CD1 SMA~2.dOCX                                                                       17

      lﬂﬂﬂllﬂﬂﬂlWHmMﬂﬂlﬂllllﬂﬂlﬂﬂ"MIMI!WENH‘IHHHIWHIIMHII1mm\lllﬂﬂlﬂ‘lﬂ
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 18 of 77 PageID.89

                                                             SB. No.           1:392
                                                                               F); U53




               (b)    It shall be a defense to any prosecution under this
      section if the person:
               (l)    Was    within the person's private residence; or
               (2)    Caused the        firearm to be unconcealed for the purpose
                      of self—defense in accordance with section 703-304 or
                      defense of another person in accordance with section
                      703-305.

               (c)    Failure to conceal a firearm by a concealed carry
      licensee shall be a petty misdemeanor."
10            SECTION 3.         Section 134—1, Hawaii Revised‘statutes, is
11    amended as        follows:
12            l.     By adding three new definitions          to be appropriately
13    inserted and to read:
14            ""Concealed" means,             in relation to a firearm, that the
15    firearm is entirely hidden from View of the public and not
16    discernible by ordinary observation, in a manner that a
17    reasonable person without law enforcement training would be
l8    unable to detect the presence of the firearm.
19            "Criminal offense relating to firearms" means:
20            (l)     Any criminal         offense under this chapter punishable as
21                    a misdemeanor;



      2023-2744 SB1230 CD1 SMA—2.dOCX                                                    l8
      WWWHIKEHIUIWIHIHHIMIIIWIIHWWWWWIIll“HIIHIIWIWIKHNIH
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 19 of 77 PageID.90
       Page19                                                             1230
                                                               S.B. NO. 8-0-2
                                                                                 F); C39




              (2)       Criminally negligent storage of a firearm under
                        section 707—714.5; and
              (3)      Any other criminal offense punishable as a misdemeanor

                        under federal or state law or the law of another
                        state, a United States territory, or the District of
                        Columbia that has as an element of the offense the

                        use, attempted use, threatened use, or possession of a
                        firearm.
              "Unconcealed" means not concealed."

10            2.       By amending    the definition of "crime of violence" to
11    read:
12            ""Crime of violence" means [aay]:

13            (    )   52X offense[7—as—éeéiaeé—éﬁ—Eéé%e—%4T]            under federal

14                     or state law or the law of another state,            a United

15                      States territory, or the District of Columbia that
l6                      [én¥e%ves—in§ury] has as an element of the offense

17                      the:
18                      (   )   Injury or threat of injury to the person of
l9                              another[7—iaeiuéiag—sex&a%];       or'
20                      (B)     Use, attempted use,       or threatened use ofgphysical
21                              force against the person or property of another


      2023-2744 SB1230 CD1 SMA—2.dOCX                                                      l9
      IWWWIIWﬂlﬂl"HIElﬂWWWMEIMIIHEWIIWIWIMIWIEHIINMWII/
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 20 of 77 PageID.91
       Page20
                                                      3.3. No. :32
                                                               H£l1
                                                                         CI11


                           or the creation of a substantial risk of causggg
                           bodilx injurx;
                    Reckless endangering in the second dggree under
                    section 707-714;
                    Terroristic threatening in the second degree under
                    section 707—717;
                    Sexual assault in the fourth degree under section 707—

                    733   [and—hafassmene]i

                    Endangering the welfare of a minor in the second

10                  degree under section 709-904;

11           (6)    Endangering the welfare of an incompetent person under
12                  section 709—905;
l3                  Harassment under section 711—llO6(l)(a);

14                  Harassment by stalking under section'711—1106.5[T]L

15                  Criminal solicitation under section 705—510; provided
16                  that the solicitation was for a crime described or
17                  listed in paragraphs (l) to (8);
18                  Criminal conspiracy under section 705—520; provided
19                  that the conspiracy was for a crime described or
20                  listed in paragraphs (1) to (8); and



      2023-2744 SB1230 CD1 SMA~2.dOCX                                           20

      WWWMIME"!WWII!WINIIWINMHII‘WWW INWIWMWIIIHIII
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 21 of 77 PageID.92
        Page21                                                                                              1230
                                                                                     S.B. NO. HL11         8-0-2
                                                                                                           CI11



                (ll)        Offenses under federal law, or the léw of another
                            state, a United States territory, or the District of
                            Columbia,             that are comparable to the offenses
                            described or listed in paragraphs (l) to (10)."
                 SECTION 4.                Section 134—2, Hawaii Revised Statutes, is
      amended to read as                        follows:
                 "§134-2             Permits to acquire.                       (a)   No    person shall acquire
      the ownership of a firearm, whether usable or unusable,
      serviceable or unserviceable, modern or antique, registered
10    under prior law or by a prior owner or unregistered, either by
11    purchase,             gift, inheritance, bequest, or in any other manner,
12    whether procured in the State or imported by mail, express,
13    freight, or otherwise, until the person has first procured from
14    the chief of police of the county of the person's place of
15    business or, if there is no place of business, the person's
l6    residence or, if there is neither place of business nor
17    residence, the person's place of sojourn,                                           a permit   to acquire
l8    the ownership of a firearm as prescribed in this section.                                              When

19    title to any firearm is acquired by inheritance or bequest, the
20    foregoing permit shall be obtained before taking possession of
21     [a] the firearm; provided that upon presentation of a copy of


                                                                                              ‘




      2023—2744 SB1230 CD1 SMA—2.dOCX                                                                               21

      i‘llﬂlﬂll‘ﬂﬂlllﬁﬂhlHIVmmMIMI!WlﬂlllHWIIHMWWNIWIM(IHIUIIHIWHIIWHIIW ill
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 22 of 77 PageID.93
       Page22
                                                                     S.B. NO. HI11  15392

                                                                                    CI11



      the death certificate of the owner making the bequest, any heir
      or legatee may transfer the inherited or bequested firearm
      directly to a dealer licensed under section 134—31 or licensed
      by the United States Department of Justice without complying
      with the requirements of this section.
                (b)      The permit          application form shall [ineiuée—ehe1i
                (   )    Include:
                         (A)      Egg applicant's name, address,        [sexT] gender,

                                  height, weight, date of birth, place of birth,
10                                country of citizenship, social security number,
11                                alien or admission number[7—aaé—iaéefma%iea]i
12                                Information regarding the applicant's mental
l3                                health historyL
14                       (C)      Any aliases or other names previously used by the

15                                aEElicant;
16                       (D)      Information that is or may be relevant in
17                                determining whether the applicant is disqualified
18                                under section 134—7 from the ownership,
19                                Egssession, or control of a firearm; and
20                                Information that is or may be relevant in
21                                determining whether the applicant lacks the


      2023-2744 SB1230                CD1 SMA—2.dOCX                     ‘
                                                                                            22

      NﬂﬂlﬁlﬂlﬂlliﬂﬂlﬂlmlwIMWWIIHIWWI!HIWIWHWIEIHMNIIIII\llWl‘Nlll
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 23 of 77 PageID.94
       Page23
                                                                                               3.3. No. £392
                                                                                                        HI11
                                                                                                               C£l1


                                            essential character or temperament necessary to
                                            be        entrusted with a firearm as set forth in
                                            subsection (e); and [sha%%—Eequire]
                                Reggire the fingerprinting and photographing of the
                                applicant by the police department of the county of
                                registration; provided that where fingerprints and a
                               photograph are already on file with the department,
                                these may be waived.
                               An applicant                     for a permit shall [siga]:
10                             glgg a waiver at the time of application, allowing the
11                             chief of police of the county issuing the permit 9£_§
12                             designee of the Chief of police access to [aay]                                 all
l3                             records that have a bearing on the mental health of
l4                             the applicant[T——¥he—permée—app%éeaeien—§erm—aaé—ehe
                                     .
15                                                E             l    a;      J             q   a}   1




l6                             geaerai—and—sha}%—be—uniée¥m—Ehreugheué—ehe—S€a%e7]L

17                             and

18                             Identify any health care providers who possess or may
19                             possess the records described in paragraph                               (l).
20                 (d)         The       chief of police of the respective counties                            [may]

21    shall issue permits to acquire firearms to [eéeiiea51i


      2023-2744 SB1230                           CD1 SMA-2.dOCX                                                        23

      I\llﬂlﬁﬂ‘ﬂﬂlllﬂﬂﬂll‘lﬂl”\llVl‘EHlﬂﬂﬂ‘\ll!HI‘IHIIIWIIHWIWWWll! ||\|H||WHN|WHI   Ml}
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 24 of 77 PageID.95
       Page24
                                                                                                S.B. NO. HI11     $3392

                                                                                                                  C£l1


                              Citizens, nationals, or lawful permanent residents of
                              the United States of the age of twenty—one years or
                              moreLr+ﬁ+éu%yLL

                              ley accredited official representatives of foreign
                              nations[T—er—éa%¥]i

                              lex commissioned law enforcement officers of the
                              State who are aliens; provided that any law
                              enforcement officer who is the owner of a firearm and
                              who       is an alien shall transfer ownership of the
10                            firearm within forty-eight hours after termination of
11                            employment from a law enforcement agency[7——¥he—ehéeé

12                                E
                                            3.          E          J
                                                                                            .          .
                                                                                                                 3.       1L

13                           Aliens of the age of eighteen years or more for use of
14                            rifles and shotguns for a period not exceeding sixty
15                            days, upon a showing that the alien has first procured
l6                            a       hunting license under chapter 183D, part II[T——¥he
17                                l.    E        E
                                                        a.             E            l   I
                                                                                                   .         .




18                           a&ieas]i_§gg
19                           Aliens of the age of twenty—one years or more for use
20                            of firearms for a period not exceeding six months,
21                           upon a showing that the alien is                                    in training for a


      2023-2744 SB1230 CD1 SMA-2.dOCX                                                                                      24

      "IIMIEIIIEHIHIHIWMNEIIMIWIIIWHIIVIKIIHIEHHIIIWNIIVll‘lWlHlWl‘ll‘l!\llWlHlll
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 25 of 77 PageID.96
       Page25                                                             1230
                                                                   SB. NO.                8-0.2
                                                                                          HL11
                                                                                          CI11


                       specific organized sport—shooting contest to be held
                       within the permit period.
              The    attorney general [sha}%] Egg adopt rules, pursuant to
      chapter 91, as to what constitutes sufficient evidence that an
      alien is in training for a sport—shooting contest.
              Notwithstanding any law to the contrary and upon joint
      application, the chief of police may, un request, issue    q
      permits to acquire firearms jointly to spouses.who otherwise
      qualify to obtain permits under this section.
10             (e)     The permit        application form shall be signed by the
11    applicant and [by—£he] issuing authority.                       One   copy of the

12    permit shall be retained by the issuing authority as a permanent
13    official record.              Except for sales to dealers licensed under
14    section 134-31, [er] dealers licensed by the United States
15    Department of Justice,                 [ef] law enforcement officers, [eikwhere
16    a—%éeense—és—graaéeé—uaéeE—seeééen—%34—97]                      or where any firearm
l7    is registered pursuant to section l34-3(a), no permit shall be
18    issued to an applicant earlier than fourteen calendar days after
l9    the date of the application; provided that a permit shall be
20    issued or the application denied before the [EweﬁeieEh]                        fortieth
21    day from the date of application.                       Permits issued to acquire any


      2023-2744 SB1230            CD1 SMA—2.dOCX                                                  25

      1WllﬂilﬂWlliﬁlWIﬂﬂﬂlWWIMIVIMMWIIWIWWIWWWWMWIHIIWWIWI!
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 26 of 77 PageID.97

                                                                              3.3. No. 3392
                                                                                       HI11
                                                                                                 0111



      pistol or revolver shall be void unless used within [Eea] thirtX
      days after the date of issue. Permits to acquire a pistol or

      revolver shall require a separate application and permit for
      each transaction.                  Permits issued to acquire any rifle or
      shotgun shall entitle the permittee to make subsequent purchases
      of rifles or shotguns for a period of one year from the date of
      issue without a separate application and permit for each
      acquisition, subject to the disqualifications under section 134—
      7   and [subiee%—ee]               revocation under section l34~13; provided
10    that if a permittee is arrested for committing a felony [er
11    aﬁy]L_§ crime of violence,                        a   criminal offense relating to
12    firearms, or for the illegal sale or distribution of any drug,
13    the permit shall be impounded and [sha%}—be] surrendered to the
14    issuing authority.                   The    issuing authority shall perform an
15    inquiry on an applicant by using the International Justice and
16    Public Safety Network, including the United States Immigration
17    and Customs Enforcement query,                               [ehe]   National Crime Information
18    Center, and [ehe] National Instant Criminal Background Check
19    System, pursuant to section 846-2.7 before any determination to

20    issue a permit or to deny an application is made.                                  The   issuing
21    authority shall not issue a permit to acquire the ownership of a


      2023-2744 SB1230               CD1 SMA-2.dOCX                                                      26

      lEIIHIHIIMHEIWIWIm”WWWWWEIIRI‘IIIWIWHWEIIll“WWWI‘IRNIWWHIH
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 27 of 77 PageID.98
       PageZ7                                                             1230
                                                                      S.B. NO. 8-0-2
                                                                               H£11
                                                                                       C111



      firearm if an applicant is disqualified under section 134—7 from
      the ownership, possession, or control of a firearm, or                         if the
      issuing authority determines that issuance would not be in the
      interest of public health, safety, or welfare because the person
      lacks the essential character or temperament necessary to be
      entrusted with a firearm.                          In determining whether a person lacks
      the essential character or temperament necessary to be entrusted
      with a firearm, the issuing authority shall consider whether the
      person poses a danger of causing a self-inflicted bodily injury
10    or unlawful injury to another person, as evidenced by:
11              (l)      Information from a health care provider indicating
12                       that the person has had suicidal or homicidal thoughts
13                       or tendencies within the preceding five years;
14              (2)      Statements or actions by the person indicating any
15                       dangerous prgpgnsity or Violent animus toward one or

16                       more     individuals or groups, including groups based on
17                       race, color, national origin, ancestry, sex, gender
18                       identity, gender expression, sexual orientation, age,
19                       disability, religion, or any other characteristic, and
20                       the propensity or animus is of a nature or to an
21                       extent that would objectively indicate to a reasonable


      2023—2744 SB1230 CD1 SMA-2.dOCX                                                         27

      lﬂﬁlmIIMEEWMIMIMIHHI‘IIMHIIIWWEIHMIHENIHWIWWIWHIIEIWIMRIHIII
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 28 of 77 PageID.99
       Page28                                                             1230
                                                                      S.B. NO. 8-0.2
                                                                               HI11
                                                                                         C£l1


                        observer that             it would not be in the interest of the
                        public health, safety, or welfare for the person to
                        own, possess,             or control a firearm or ammunition; or
                (3)     Other information that would lead a reasonable,
                        objective observer to conclude that the person
                        presents or would present a danger to the community as
                        a   result of acquiring or possessing a firearm or
                        intends or is likely to use a firearm for an unlawful
                        purpose or in an unlawful manner.
10              (f)     In all cases where a pistol or revolver is acquired
11    from another person within the State, the permit shall be signed
12    in ink by the person to whom title to the pistol or revolver is
13    transferred and shall be delivered to the person who is
l4    transferring title to the firearm, who shall verify that the
15    person to whom the firearm is to be transferred is the person
16    named      in the permit and enter on the permit in the space
17    provided the following information:                          name, address, and

18    telephone number of thegperson who transferred the firearm;
19    name, address, and telephone number of                         the person to whom the
20    title to the firearm was transferred;                          names   of the manufacturer
21    and importer; model; type of action;                         caliber or gauge; and


      2023-2744 SB1230               CD1 SMA-2.dOCX                                             28

      \HﬂﬂllWllﬂﬂllllVIEWWIN"!WI\ﬂlllﬂl‘l‘lllWﬂﬂﬂWlﬂ‘ll“WWWNIH"!
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 29 of 77 PageID.100
        Page29                                                            1230
                                                                           S.B. NO. 8.0-2
                                                                                    H£11
                                                                                              C£l1


       serial number, as applicable.                              The person who   is transferring
       title to the firearm shall sign the permit in ink and cause the
       permit to be delivered or sent by registered mail to the issuing
       authority within forty—eight hours after transferring the
       firearm.
                In all cases where receipt of a firearm is had by mail,
       express,         freight, or otherwise from sources [wéeheuE] outside
       the State, the person to whom the permit has been issued shall
       make     the prescribed entries on the permit, sign the permit in
10     ink, and cause the permit to be delivered or sent by registered
11     mail to the issuing authority within forty—eight hours after
12     taking possession of the firearm.
l3              In all cases where a rifle or shotgun is acquired from
14     another person within the State, the person who is transferring
15     title to the rifle or shotgun shall submit, within forty—eight
16     hours after transferring the firearm, to the authority that
17     issued the permit to acquire, the following information, in
18     writing:          name,       address, and telephone number of the person who
19     transferred the firearm[T]L name, address, and telephone number
20     of the person to whom the title to the firearm was transferred;




       2023—2744 SB1230 CD1 SMA—2.docx                                                               29

      lHIHHINIIIHNWIIMIIIHmﬂWIHliillllﬂlllﬁlﬂﬂlﬂlmﬂliﬂﬂlﬂlﬂWﬂﬂlﬂmmm
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 30 of 77 PageID.101
       Page 30                                                                         1230
                                                                   SB. NO. HI11        8-02
                                                                                       CI11


      names      of the manufacturer and importer; model; type of action;
      caliber or gauge; and serial number, as applicable.
                (g)     [E§£ee€éve—Ju$y—%T—$99ST—ne]              E9 person shall be   issued
      a permit        under this section for the acquisition of a [pisée%—e¥
      reve¥ver] firearm unless the person,                       [aé—aay—EEM%f&ée¥—EG]

      within the fourgygars before the issuance of the permit, has
      completed:
               (1)      An approved hunter education course as              authorized
                        under section l83D—28[+], unless the applicant seeks
10                      to acquire a pistol or revolver, in which case the
11                      applicant shall complete a training satisfying the
12                      requirements of paragraph (2), (3), or (4);
13             (2)     A   firearms safety or training course or class
14                      available to the general public offefed by a law
15                      enforcement agency of the State or of any county;
16             (3)     A   firearms safety or training course offered to law
17                      enforcement officers, security guards, investigators,
18                      deputy sheriffs, or any division or subdivision of law
19                      enforcement or security enforcement by a state or
20                      county law enforcement agency; or




      2023-2744 SB1230              CD1 SMA-2.dOCX                                            3O

      |ﬂﬂ|l|l||l|l|llWHlﬂlm”WWW"WIIMHHWIMWMHWINVIIHIWHINHINHMW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 31 of 77 PageID.102
        Page31
                                                                 SB. NO.            35392
                                                                                    F31
                                                                                          U53




              (4)    A   firearms training or safety course or class
                      conducted by a           [


                                                                            ]   firearms
                      instructor certified or verified by the Chief of
                     police of the respective county or a designee of the
                     chief of police or certified by a nongovernmental
                     organization approved for such purposes by the chief
                     of police of the respective county or a designee of
                     the chief of police, or conducted by a certified
10                   military firearms instructor; provided that the
11                   firearms training or safety course or class provides,
12                   at a minimum,         a       total of at least two hours of firing
13                   training at a firing range and a total of at least
14                   four hours of classroom instruction, which may include
15                   a video,      that focuses on:
16                    (A)    The   safe use, handling, and storage of firearms
17                           and firearm safety in the home[+], as well as a

18                           component on mental health,            suicide prevention,
19                           and domestic violence issues associated with

20                           firearms and firearm violence; and
21                    (B)    Education on the firearm laws of the State.


      2023-2744 SB1230 CD1 SMA-2.dOCX                                                           31

      HIIHWIIWHIWWMWMM‘IIWMIIIWWMIKWI‘IWWMIMII‘IHIIWWWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 32 of 77 PageID.103
        Page”                                                                        _X
                                                                                          N (A) O

                                                                    SB. NO.          0.1.0)

                                                                                              FJFJU   JAN




                       An affidavit signed by the                certified or verified
                       firearms instructor who conducted or taught the
                       course, providing the name, address, and phone number
                       of the instructor and attesting to the successful
                       completion of the course by the applicant shall
                       constitute evidence of certified successful completion
                       under this paragraph[T]; provided that an instructor
                       shall not submit an affidavit signed by the instructor
                       for the instructor's own permit application.
10             (h)     No   person shall sell, give, lend, or deliver into the
11    possession of another any firearm except in accordance with this
12     chapter.
13             (i)     No   fee shall be charged for permits, or applications
l4     for permits, under this section, except for a single fee
15     chargeable by and payable to the issuing countY[7—£er
16    iaééviéua¥s—app}yéng—éer—eheér—£$¥s%—pe£mie7]                       in an amount equal
17     to the fee charged by the Hawaii criminal justice data center
18    pursuant to section 846—2.7.                        In the case of a joint
19     application, the fee provided for in this section may be charged
20     to each person [Ee—whem—He—previeus—pe¥mie—has—been—issued].                                         E:
21     an application under this                   section is denied, the chief of police


       2023—2744 SB1230 CD1 SMA-2.dOCX                                                                       32

      IHE1H!||H|MIIWMMMMNNIMIIWINMINWMMﬁlm\IIMIWWIHIWHIMNWWII
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 33 of 77 PageID.104

                                                                                                  3.3. No. 33%
                                                                                                           HI11
                                                                                                            CI11


       or a designee of the chief of police shall notify the applicant
       of the denial in writing, stating the ground or grounds for the
      denial and informing the applicant of the right to seek review
      of the denial through a hearing pursuant to subsection (k).
                      (j)          In all cases where a permit application under this
       section is denied because an applicant is prohibited from
      owning, possessing, receiving, or controlling firearms under
       federal or state law, the chief of police of the applicable
      county shall, within ten business days from the date of denial,
10    send written notice of the denialL including the identity of the

11    applicant and the reasons for the denialL to the:
12                   (1)           Prosecuting attorney in the county where the permit
13                                was         denied;
14                   (2)          Attorney general;
15                   (3)          United States Attorney for the District of Hawaii; and
l6                   (4)          Director of public safety.
17                  If the permit to acquire was denied because the applicant
18    is subject to an order described in section 134—7(f), the chief
l9    of police shall, within three business days frém the date of
20    denial, send written notice of the denial to the court that
21    issued the order.


      2023-2744 SB1230                                CD1 SMA-2.dOCX                                               33

      WWIEllllWHIHIH|\I\||ﬂ|\lﬂlﬂll\ﬁﬂlll\HI‘IHIIIEIIWI‘II‘WﬂllmﬂﬂlﬁﬂﬂlﬂlﬂllHIWIIIIIIHIIIHHIWIE
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 34 of 77 PageID.105
        Page 34                                                                          1230
                                                                      SB. NO.            8.0-2




               When     the director of public safety receives notice that an
       applicant has been denied a permit because of a prior criminal
       conviction, the director of public safety shall determine
       whether the applicant is currently serving a term of probation
       or parole, and if the applicant is serving such a term, send
       written notice of the denial to the applicant's probation or
       parole officer.
                (k)     If anggpplication under this section is denied, a
       pgrson or entity aggrieved by the denial shall be entitled to a
10     hearing before the chief of police of the appropriate county or
ll     a designee         of the chief of police.                 A person   or entity aggrieved
12     9y the denial shall submit a request for a hearing in writing to
l3     the chief of police of the appropriate county no later than
14     thirty days following the date of the decision or determination
15    notice.         The hearing           shall constitute a contested case hearing
16     for purposes of Chapter 91.                        Following the hearing and final
17    decision,         an aggrieved party shall be entitled to a judicial

18     review proceeding in state circuit court in accordance with
19     section 91—14.




      2023-2744 SB1230              CD1 SMA-2.dOCX                                               34

      IMlWWWMINIWWIMHWWIHIIIWWIll!HI!Ml"IIWEHIIIMIIIINIIHVWWII!
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 35 of 77 PageID.106
           Paws                                                                                      N 00 O

                                                                              SB. NO.         Olw‘


                                                                                                      F3539   AAN




                      (l)     The permit          application form and the waiver form
       required under this section shall be prescribed by the issuing
       authoritx."
                  SECTION 5.             Section 134—4, Hawaii Revised Statutes, is
       amended by amending                        subsection (d) to read as follows:
                      "(d)     No   person shall intentionally, knowinglyL_9£
       recklesslx lend a firearm to any person who is prohibited from
       ownership [er1L possession, or control of a firearm under
       section 134-7."
10                SECTION 6.            Section l34~7, Hawaii Revised Statutes, is
ll     amended              to read as follows:
12                "§134-7           Ownership              [erlL possession, or control prohibited,
13     when;          penalty.          (a)       No       person who is a fugitive from justice or
14         [is—a—persea]            prohibited from possessing                [éérea¥ms] a firearm or

15     ammunition under title l8 United States Code section 922 or any
16     other provision of federal law shall own, possess, or control
17     any firearm or ammunition [£hereéer].

18                    (b)    No    person who [is—uaéer—iﬁéie&mené—éerT—e¥—has—waéved
19
       .
             a.   I            E    I         l        J      J    a      '   l]    .   .
                                                                                                I




20    ﬁerT] is being prosecuted for one or more charges for a felony,
21     a    crime of violence, a criminal offense relating to firearms, or


       2023-2744 SB1230                 CD1 SMA-2.dOCX                                                              35

      MWWWWMIll)WWIWWWWHHMMWWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 36 of 77 PageID.107
                                                                      ‘




        Page 36                                                                     1230
                                                            SB. NO.                 H111
                                                                                    CI11


       an illegg; sale or distribution of any drugiin a court                     in this
       State or elsewhere, or who has been convicted in this State or
       elsewhere of having committed a felony, [er—any] g crime of
       violence,   a    criminal offense relating to firearms, or an illegal
       sale or distribution of any drug shall own, possess, or control
       any firearm or ammunition [Ehereéer].

             (c)   No   person [whe+] shall own, possess, or control any
       firearm or ammunition if the person:
             (l)   Is or has been under treatment or counseling for
10                 addiction to, abuse of, or dependence upon any
11                 dangerous, harmful, or detrimental drug,                   intoxicating
12                 compound as        defined in section 712—1240, or
13                 intoxicating liquor;
14           (2)   Has been acquitted of a          crime on the'grounds of mental
15                 disease, disorder, or defect pursuant to section 704—
16                 4ll[+] or any similar provision under federal law, or
17                 the law of another state, a United States territory,
18                 or the District of Columbia;
l9           (3)   Is or has been diagnosed          [as—haviﬁg—a—signééieaaé

20                 bekiad   i era; efneEé eiia; ef ilkeiiea; ail sef def s as degi iiea
                                  I            I

                                                ,       .                             .
21                                                                a       E   J




       2023-2744 SB1230       CD1 SMA—2.dOCX                                                 36

      5"WMWﬂﬂWWWWWWWWWHWWWWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 37 of 77 PageID.108
        Page37                                                            1230
                                                                      SIB. NO.
                                                                          SID.2
                                                                                          F31 C’U   .AA




                              1.       .
                                            F
                                                     .     .
                                                                  E         V
                                                                                E
                                                                                                .




                       braia—syaéremesT]                 with or treated for a medical,
                       behavioral, psychological, emotional, or mental
                       condition or disorder that causes or is likely to
                       cause impairment in judgmentkgperception, or impulse

                       control to an extent that presents an unreasonable
                       risk to public health, safety, or welfare if the
                       person were in possession or control of a firearm; or

               (4)     Has been adjugged                 to:
10                     (A)     Meet the criteria for involuntary hospitalization

11                             under section 334—60.2; or
12                     (B)     Be an       "incapacitated person", as defined in
13                             section 56025—102,
14     [sha%%—ewnT—pessessT-er—eeaefe%—aay—ééreaEm—er—ammuaieéeﬁ

15    ehereéer7] unless the person                        [has—been—mediea%%y—éeeumen€eé—ee

16    be] establishes,             with appropriate medical documentation, that
17     the person is no longer adversely affected by [éhe—aéééeeéeﬁ7
18    abuseT—éepeaéeneeT-mea%a&—ééseaseT-éiseréerT—eé—éeéeeev] the

19     criteria or statuses identified in this subsection.
20             (d)     No    person who is less than twenty—five years old and
21    has been adjudicated by the family court to have committed a



       2023-2744 SB1230            CD1 SMA-2.dOCX                                                         37

      MINIHIHHVIHWIHIIIHHIMIWHINHEFJIIMEIIHWHWWNWHHINIWNWHWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 38 of 77 PageID.109

                                                       SB. No. HI11      1:592

                                                                         C£11



       felony,     [Ewe—e%;ﬁwﬁxke&émes]   a   crime of violence, a criminal
       offense relating to firearms, or an illegal sale or distribution
       of any drug shall own, possessL or control any firearm or
      ammunition [ehereéef].

             (e)    No   minor [whe+] shall own, possess, or control any
       firearm or ammunition if the minor:
             (1)    Is or has been under treatment for addiction to any
                    dangerous, harmful, or detrimental drug,      intoxicating
                    compound as   defined in section 712—1240, or
10                  intoxicating liquor;
11           (2)    Is a fugitive from justice; or
12          (3)     Has been determined not     to have been responsible for a
13                  criminal act or has been committed to any institution
14                  on account of a mental disease,     disorder, or
15                  defect[7]L
l6     [shai%—ewaT—pessessT—ef—eene£e%—aﬁy—éifearm—er—ammaaéeéen

17    ehereéerT] unless the minor [has—beea—meéiea¥$y—éeeumea€ed—€e
18    be] establishes,      with appropriate medical documentation, that
19    the minor is no longer adversely affected by the addiction,
20    mental disease, disorder, or defect.




      2023—2744 SB1230 CD1 SMA—2.dOCX                                            38

      lWmIIHllllWWI“I"WIll“WWWWWWWWWWWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 39 of 77 PageID.110
        Page39                                                            1230
                                                                          S.B. NO. 8.0.2
                                                                                   H£l1
                                                                                              CI11


                For the purposes of enforcing this section, and

       notwithstanding section 571—84 or any other law to the contrary,
       any agency within the State shall make                            its records relating to
       family court adjudications available to law enforcement
      officials.
                 (f)     No    person who has been restrained pursuant to an order
      of any court, including a gun violence protective order issued
      pursuant to part IV, from contacting, threatening, or physically
      abusing any person, shall possess, control, or transfer
10    ownership of any firearm or ammunition [Ehefeéef], so long as
ll    the protective order, restraining order, or any extension is in
12    effect[7—ua&ess—€he—eféefT—éer—geeé—eause—shewnT—speeééiea%%y

13    pefmées—Ehe—pessesséeﬁ—eé—a—éi¥ea¥m—aaé—ammuaieéea].                              The

l4    protective order or restraining order shall specifically include
15    a   statement that possession, control, or transfer of ownership
16    of a firearm or ammunition by the person named~in the order is
l7    prohibited.              The person shall                 relinquish possession and control
18    of any firearm and ammunition owned by that person to the police
19    department of the appropriate county for safekeeping for the
20    duration of the order or extension thereof.                             At the time of
21    service of a protective order or restraining order involving


      2023—2744 SB1230 CD1.SMA-2.dOCX                                                                39

      HIIWIHIHWﬂlﬂlﬂlﬂﬂlﬂlﬁlﬂulllllﬂllWﬂlllﬁllﬂmm‘llﬂ‘IMINIIWEWIHNIN
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 40 of 77 PageID.111
        Page40                                                            1230
                                                     S.B. NO. 8.0-2
                                                              H£l1
                                                                         CI11


       firearms and ammunition issued by any court,        a police   officer
       may   take custody of any and all firearms and ammunition in plain
       sight, those discovered pursuant to a consensual search, and
       those firearms surrendered by the person restrained.           If the
       person restrained is the registered owner of a firearm and knows
       the location of the firearm, but refuses to surrender the
       firearm or [reéuses—ee] disclose the location of the firearm,
       the person restrained shall be guilty of a misdemeanor.           In any
       case, when a police officer is unable to locate the firearms and
10     ammunition either registered under this chapter or known to the
11    'person granted protection by the court, the police officer shall

12     apply to the court for a search warrant pursuant to chapter 803
l3     for the limited purpose of seizing the firearm and ammunition.
14

15

16

17

18

19

20




      2023—2744 SB1230 CD1 SMA-2.dOCX                                             4O

      mmWMWﬂlﬂMllﬂillﬂﬂlﬂWlNﬂlWWII"WWWHIWIHWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 41 of 77 PageID.112

                                                     3.3. No. :32
                                                              H£l1
                                                                         CI11



             (g)     Any person disqualified from ownership, possession,

      control, or the right to transfer ownership of firearms and
      ammunition under this section shall surrender qr dispose of all
       firearms and ammunition in compliance with section l34-7.3.
             (h)     Any person who otherwise would be prohibited under

      subsection (b) from owning, possessing, or controlling a firearm
      and ammunition solely as a result of a conviction for a crime

      that is not a felony, and who is not prohibited from owning,
      possessing, or controlling a firearm or ammunition for any
10    reason under any other Egovision of this chapter or under title
ll    18   United States Code section 922 or another provision of
12    federal law, shall not be prohibited under this section from
l3    owning, possessing, or controlling a firearm and ammunition           if
l4    twenty years have elapsed from the date of the conviction.
15           [+h+]   ill   Any person violating subsection (a)     or (b) shall
16    be guilty of a class C felony; provided that any felon violating
17    subsection (b) shall be guilty of a Class B felony. Any person
18    violating subsection (c), (d), (e), (f), or (g) shall be guilty
l9    of a misdemeanor."
20           SECTION 7.      Section 134—9, Hawaii Revised Statutes, is
21    amended to read as       follows:


      2023—2744 SB1230 CD1 SMA-2.dOCX                                            41

      WI“"W\\||\|ﬂ|H1||WWﬁlmHI!WWWWHEIWIIHWWI!WWI
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 42 of 77 PageID.113
       Page42                                                             1230
                                                                                                 S.B. NO. 8.0-2
                                                                                                          HI11
                                                                                                                                         C£l1


              "§134—9           Licenses to carry.                       (a)                 [


        l                 3.              l                              E
                                                                                             .   .
                                                                                                                  l                 a.

      perseH—er—pfepereyT—ehe] The                         chief of police of [£he
      appfepréaEe] g county [may]                      shall grant a license to an
      applicant          [whe—§s—a—eieizen—eé—ehe—Hnieeé—Seaees—eé—ehe—age—eé

                                                                     a       a
                                                                                                     a.       a       EE.       .
                                                                                                                                    a



                          .                       .          .
                     I            E           E                                  E       l                    E




      years—ef—mere]             to carry a pistol or revolver and ammunition
       [Ehefeéer] concealed on the licensee's person within [£he—eeuﬁey
10      1        l       3.           .
                                                      a.         l                   l                                      l             a]
ll    beeH—suééieéeﬁe&y—inéiea5eéT—ehe—respee%éve] the State,                                                                       if the
12    applicant:
13            (l)        Satisfies each of the criteria established by or
14                       pursuant to subsection (d);
15            (2)        Is not prohibited under section 134—7 from the
16                       ownership, possession, or control of a firearm and
l7                       ammunition;
18            (3)        Is not found to be lacking the essential character or
l9                       temperament necessary to be entrusted with a firearm

20                       as    set forth in subsection (h);




      2023-2744 SB1230 CD1 SMA-2.dOCX                                                                     p
                                                                                                                                                42

      MMlﬁllﬂﬂlﬂlﬂﬂlilmWINHIIIWHIIHNWWWI"IIIHIHIWIWHHWE
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 43 of 77 PageID.114
       Page43
                                                                               SB. NO. H£l1        35392

                                                                                                   0111



                             Is a citizen, national, or lawful permanent resident
                            of the United States or a duly accredited official
                            representative of a foreign nation;
                             Is a resident of the State; and
                            Is of the age of twenty—one years or more.
                            The      chief of police of a county may grant to an




10

11    éérearmT] a license to carry a pistol or revolver and ammunition

12     [éhereéer] unconcealed on the licensee's person within the
13    county where the license is granted[7],                                  if the applicant:
l4                (l)       Sufficiently establishes the urgency or need to carry
15                          a    firearm unconcealed;
16                (2)       Is engaged in the protection of life and property;
17                (3)       Satisfies each of the criteria established by or
18                          pursuant to subsection (d);
19               (4)        Is nopgprohibited under section 134—7 from the
20                          ownership, possession, or control of a firearm and
21                          ammunition;


      2023—2744 SB1230 CD1 SMA-2.dOCX                                                                      43

      \ﬂllllMMllWWlmﬂlmiINIIEIWIHVﬂlﬂlﬂlﬂﬂllﬂlmlm\IIIWWWMINIHIWNIWHEWIIIHIII
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 44 of 77 PageID.115
       Page44                                                             1230
                                                                          S.B. NO. s-m
                                                                                   H£l1
                                                                                    CI11



                 (5)       Is not found to be lacking the essential character or
                          temperament necessary to be entrusted with a firearm

                          as     set forth in subsection (h);
                 (6)       Is a citizen, national, or lawful permanent resident
                          of the United States; and
                 (7)      Is of the age of twenEy—one years or more.
                19L       The     chief of police of the appropriate county, or [Ehe
      ehée§¢s] g designated representative[7] of the chief of police,

       shall perform an inquiry on an applicant by using the National
10     Instant Criminal Background Check System, to include a check of
11    the Immigration and Customs Enforcement databases [whefe]                     i: the
12    applicant is not a citizen of the United States, before any
l3    determination to grant a concealed or unconcealed license is
14    made.            [Uﬁ%ess—reneweéT—%he—&éeease—shaii—expire—ene—year—éfem

15

16

l7
18    a—eeneeakeé—weapen—eﬁ—Ehe-pefsen—sha&&+]

19               (d)      To be       eligible to receive a license to carry a
20    concealed or unconcealed pistol or revolver on the licensee's
21    person, the applicant shall:


      2023—2744 SB1230 CD1 SMA-2.dOCX                                                      44

      UllﬁlﬂlﬂlﬂlWIHiﬂllHEHI}ﬂﬂmﬂmﬂﬂﬁﬂﬁlﬂﬂlﬂmﬂﬂﬂﬂl\llv\IV\IWIIIIMIHIIIW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 45 of 77 PageID.116
        Page45                                                            1230
                                                           S.B. NO. H£l1  s-D-z

                                                                          0111



              (l)     [                                                     ,]
                      Submit the appropriate carry license application,      in
                      person, to the chief of police of the appropriate
                      countx, with:
                      (A)     All fields on the application form completed and
                              all questions answered truthfully, under penalty
                              of law;
                      (B)    All required signatures present on the
                              aEElication;
10                    (C)    Any required documents attached to the

11                            aBElication; and
12                    (D)     Payment of the nonrefundable   license application
l3                            fee required under this section;
14            (2)     [A§pear~ee—be—a—suieabie—persea—ee—bé—se—}éeeﬁsed7]        Eg

15                    the registered owner of the firearm or firearms for
16                    which the license to carry will be issued; provided
l7                    that this paragraph shall not apply to detectives,
18                   private detectives, investigators, and guards with an
19                    active license issued pursuant to chapter 463;




      2023—2744 SB1230 CD1 SMA—2.docx                                              45

      MIHWNINWIHINMHIWMNWIWHNIIWM“"lell”"WWII”“WWW"!WWI!
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 46 of 77 PageID.117
        Page46                                                            1230
                                                        SB. NO.           s-D-z
                                                                          H111
                                                                              CI11


             (3)    Not be prohibited under section 134—7 from the

                    ownership [er1L possession, or control of a firearm;
                    [aﬁé]

             (4)

                   meaéa%%y—éeraageév]        Have completed a course    of
                    training as described in subsection (e) and be
                    certified as qualified to use the firearm or firearms
                    for which the license to carry will be issued in a
                    safe manner; and
10           (5)   Sign an affidavit expressly acknowledging that:
11                  (A)     The   applicant has read and is responsible for
12                          understanding and complying with the federal,
l3                          state, and county laws governing the permissible
14                          use of firearms and associated requirements,

15                          including:
l6                          (i)   The prohibition on carrying or possessing a

17                                firearm in certain locations and premises;
l8                        (ii)    The prohibition on carrying more      than one
19                                firearm on the licensee's person at one
20




      2023—2744 SB1230 CD1 SMA-2.dOCX                                                46

      Jﬂlﬂl“I“MIMImﬁll)llﬁWWMWWW”llWIINIWIWMWIHWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 47 of 77 PageID.118
        Page4?
                                                            S.B. NO.          35392
                                                                              0.1
                                                                                    .09




                         (iii)     The prohibition on carrying a      firearm on
                                  Erivate propgrty of another person without
                                   the express authorization of the owner,
                                   lessee, operator, or manager of the private
                                  progerty;
                                  The    requirement to maintain possession of
                                  the license on the licensee's person while
                                  carrying a firearm;
                            (V)   The    requirement to disclose information
10                                regardigg the carrying of a firearm when
11                                stopped by law enforcement;
12                        (vi)    The provision       for absolute>liability for
13                                injury or property damage proximately caused
14                                by a legallyﬁunjustified discharge of a
15                                firearm under section 663—9.5; and
16                       (vii)    Laws   regarding the use of deadly force for
17                                self-defense or the defense of another;
18                         A   license to carry issued under this section
19                         shall be void if a licensee becomes disqualified
20                         from the ownership, possession, or control of a




      2023-2744 SB1230 CDl SMA-2.dOCX                             >
                                                                                          47

      WWHIM“WWIIIWWMWWWIﬂlllW“INMWWWIINIWIHIIHWWWWM
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 48 of 77 PageID.119
       Page48                                                              N O                        _l   (A)




                                                                                         SB. NO.
                                                                                            ‘
                                                                                                      8.0-2
                                                                                                      |+D.1
                                                                                                      0111



                                            firearm pursuant to section l34—7(a), (b), (d),
                                            or       (f);
                                (C)         The        license shall be subject to revocation under
                                            section 134—13 if a licensee for any other reason
                                            becomes              disqualified under section 134—7 from the
                                            ownership, possession, or control of a firearm;
                                            and

                                (D)         A license                 that is revoked or that becomes void
                                            shall be returned to the chief of police of the
                                            appropriate county within forty—eight hours after
                                            the license is revoked or becomes void.




15

16

l7
18    %éeense—is—g¥aaEeéT]

19                 (e)         The course                  of training for issuance of a license under
20    this section may be any course acceptable to the licensing
21    authority that meets all of the following criteria:


      2023—2744 SB1230 CD1 SMA-2.dOCX                                                                            48

      \HIEIIEIHIHWﬁlﬂlﬂﬂﬂﬂﬂlﬂmHIWNIIWHIHIIWIIVIWIIWIWIIEHIMHll”\IIHIHIHIIWWIWIIWHIIIMH
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 49 of 77 PageID.120
        Page49                                                                         _x

                                                                                            N (A) O

                                                                            S.B. NO.   F7ﬂiw C’C’U    _x._xN




                 (l)       The course              shall include in—person instruction on
                            firearm safety; firearm handliggi shootingitechnique;
                            safe storage; legal methods to transport firearms and
                            secure firearms in vehicles; laws governing places in
                           which persons are prohibited from carrying a firearm;
                            firearm usage in low-light situations; situational
                           awareness and conflict management; and laws governing

                           firearms, including information regafding the
                           circumstances in which deadly force may be used for
10                         self—defense or the defense of another;

11               (2)       The course              shall include a component on mental health
12                         and mental health resources;

13                         Except for the component on mental health and mental
l4                         health resources, the course shall be conducted by one
15                         or more firearms instructors certified or verified 9y
16                         the chief of police of the respective county or a
17                         designee of the chief of police or certified by a
18                         nongovernmental organization approved for those
19                         purposes by the chief of police of the respective
20                         county or a designee of the chief of police, or




      2023-2744 SB1230                    CD1 SMA-2.dOCX                                                       49

      HIIHIUIHIIHHIHWWMMIWWWHI‘IMIIWIMI‘IIHWIWWIIVWllll‘lﬂllﬂlll‘lHllHHWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 50 of 77 PageID.121
       Page50
                                                                                        3.3. No. :32
                                                                                                 HI11
                                                                                                         CI11


                             conducted by one or more certified military firearms
                              instructors;
                             The course                shall require participants to demonstrate
                             their understanding of the covered topics by achieving
                             a    score of at least seventy per cent on a written
                             examination; and
                             The course                shall include live—fire shooting exercises
                             on a firing range and shall                              include a demonstration by
                             the applicant of safe handling of, and shooting
10                           proficiency with, each firearm that the applicant is
ll                           applyigg to be licensed to carry.
12                (f)        Upon passing                  the course of training identified in
13    subsection (e), the applicant shall obtain from the instructor,
14    and include as part of the applicant's                                           application package, a
15    certification as to the following:
16                (l)        The applicant's name, as                              confirmed by reviewing the
17                           applicant's government—issued photo identification;
18                (2)        The date and                  location of the firearm proficiency test;
19                (3)        The       firearm or firearms that the applicant used in the
20                           firearm proficiency test;




      2023-2744 SB1230                       CD1 SMA—2.dOCX                                                     50

      ‘mHHMﬂlﬂlH!W|\||\IWIIWINMIW\IIHIIMIIIHmll“WINUHHIHHWMIIIIHIIMHHHIHIIWHHIIW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 51 of 77 PageID.122
       Page 51
                                                                             S B NO            182802

                                                                                               H£l1
                                                                                               C£l1


                (4)      The     applicant's score; provided that an indication
                          that the applicant passed or failed, without the score
                          itself, shall be insufficient information for the
                         purposes of the application; and

                (5)      The     instructor's qualifications to administer the
                          firearm proficiency test.
      The     certification of the above information, signed by the
      firearms instructor who conducted or taught the course,
      providing the name, address,                            and phone number of the      instructor,
10    shall constitute evidence of successful completion of the
11    course; provided that the instructor shall not submit a
12    certification signed by the instructor for the instructor's own
l3    license application.                       The course            of training for issuance of a
14    license under this section shall be undertaken at the licensee's
15    expense.

l6              (g)      An applicant              for a license under this section shall:
17              (l)      Sign a waiver at the time of application, allowing the
18                       chief of police of the county issuing the license or a
19                       designee of the chief of police access to agxﬁrecords
20                       that have a bearing on the mental health of the
21                       aEElicant; and


      2023-2744 SB1230                 CD1 SMA-2.dOCX                                                   51

      WWWHIIIIHIV“NIHIlﬂlﬁlﬂﬂl!WWWWIIHHIIMHHIIMIINIH"WWWMWI‘IIWINII‘
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 52 of 77 PageID.123

                                                        3.3. No. H£l1       33.02

                                                                            C£l1


              (2)   Identigy anyﬁhealth care providers who possess or may
                    possess the records described in paragraph       (l).
              (h)   In determining whether a person lacks the essential
       character or temperament necessary to be entrusted with a
       firearm, the licensing authority shall consider whether the
      person9poses a danger of causiggia self-inflicted bodily injury
       or unlawful injury to another person, as evidenced 9y:
             (1)    Information from a health care provider indicating
                    that the person has had suicidal or homicidal thoughts
10                  or tendencies within the preceding five years;
11           (2)    Statements or actions by the person indicating any
12                  dangerous propensity or violent animus toward one or

13                  more   individuals or groups, including groups based on
14                  race, color, national origin, ancestry, sex, gender
15                  identity, gender expression, sexual orientation, age,
l6                  disability, religion, or any other Characteristic, and
17                  the prgpensity or animus is of a nature or to an
18                  extent that would objectively indicate to a reasonable
l9                  observer that       it would not be in the interest of the
20                  public health, safetyLior welfare for thegperson to
21                  own, possess,       or control a firearm or ammunition; or


      2023—2744 SB1230 CD1 SMA-2.dOCX                         .                     52

      \MHIIIMIWHWWHWMlllﬂlﬂllﬂlﬂﬂﬂﬂﬂlﬂllWWWWWHMWW   W
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 53 of 77 PageID.124
        Page53                                                            1230
                                                     SB. NO. 8m
                                                             H£l1
                                                                           CI11


             (3)     Other information that would lead a reasonable,
                     objective observer to conclude that ﬁhe person
                    presents or would present a danger to the community as
                     a   result of carrying a firearm in public or intends or
                     is likely to use a firearm for an unlawful purpose or
                     in an unlawful manner.
             (i)    A nonrefundable    fee of $150 shall be~charged for each
       license application submitted under this section.          The    fee shall
      be   chargeable by and payable to the appropriate county and shall
10    be used      for expenses related to police services.     The     issuigg
11    authority shall waive the fee required by this subsection upon a
12    showing of financial hardship by the applicant.

13           (j)    If the applicant satisfies each of the requirements
l4    for a concealed carry license, an application for a concealed
15    carry license submitted to the chief ofgpolice’of the
16    appropriate county under this section shall be approved within a
17    reasonable time after receipt of all reguiredggpplication
18    materials.         If the applicant does not satisfy one or more of the
19    requirements for a concealed carry license, the license shall be
20    denied within a reasonable time after receipt of the application
21    materials.         If an application is denied, the Chief of police or

      2023-2744 SB1230 CD1 SMA-2.dOCX                                             53

      IlllﬂlMMIillN!HIMWIWNHIWWWWIMIWWWWHNIWHIW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 54 of 77 PageID.125

                                                     3.3. No.            33.02
                                                                         F31
                                                                               953
                                                                                     AA




      a designee     of the chief of police shall notify the applicant of
      the denial in writing, stating the ground or grounds for the
      denial and informing the applicant of the right to seek review
      of the denial through a hearing pursuant to subsection (k).                    If
      the chief of police does not grant or deny a submitted
      application for a concealed carry license within one hundred
      twenty days following the date of the agplication, the
      agplication shall be deemed denied as of that date for purposes
      of subsection (k).
10           (k)    If an application under this section’is denied, a
11    Egyson or entity aggrieved by the denial        shall be entitled to a
12    hearing before the chief of police of the appropriate county or
13    a   designee of the chief of police.      A person or   entity aggrieved
14    glithe denial shall submit a request for a hearing in writing to
15    the chief of police of the appropriate county no later than
16    thirty days following the date of the decision or determination
17    notice.      The hearing   shall constitute a contested case hearing
18    for purposes of chapter 91.        Following the hearing and final
19    decision, an aggrieved party shall be entitled to a judicial
20    review proceeding in state circuit court in accordance with
21    section 91—14.


      2023—2744 SB1230 CD1 SMA-2.dOCX                                                     54

      WWI"WNWWNWWINWll“MWWWHWIMIIWMWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 55 of 77 PageID.126
       Page55                                                             1230
                                                                            SB. NO. HI11
                                                                          s-D-z

                                                                                          C£l1


                 (l)       If an application pursuant to this section is
 2     approved, the Chief of police shall issue the applicant a
       license that contains, at minimum:
                 (l)       The      licensee's name;
                 (2)       The      licensee's address;
                 (3)       A photograph                of the licensee taken within ninety days
                           before issuance of the license;
                 (4)       The      county of issuance;
                 (5)       A notation as                 to whether the license permits concealed
10                         or unconcealed carry;
11               (6)       The      serial number of each registered firearm that the
12                         licensee may carry pursuant to the license; and
13               (7)       The      license expiration date.
14    The     license issued under this subsection shall not constitute a
15    ggvernment—issued photo identification document under federal or

16     state law.
17               (m)       Unless renewed, a concealed or unconcealed license

18     shall expire four years from the date of issue.
19               (n)       A license            to carry issued under this section shall be
20    void if a licensee becomes disqualified from the ownership,
21    possession, or control of a firearm pursuant to section l34—


      2023-2744 SB1230                    CD1 SMA-2.dOCX                                          55

      HIM”llﬂlﬂllliMlHIINiI‘IHHNﬂﬂIIMMIIIHW||h|\|\|NM|1||WWIWWHIIWNIWNIII
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 56 of 77 PageID.127

                                                                     3.3. No. 33%       F): C’D
                                                                                                  A—X




       7(a), (b), (d), or (f).                     If a licensee for any other reason
      becomes         disqualified under section 134-7 from the ownership,
      possession, or control of a firearm, the license shall be
       subject to revocation under section 134-13.                        A   license that is
      void or revoked shall be returned to the chief of police of the
      appropriate county within forty—eight hours after the license
      becomes void or is revoked.

                (o)     The    chief of police of each county shall adopt
      procedures to imQ;ement this section.
10             (p)      The    chief of police of each county shall establish
11    procedures and criteria for the renewal of licenses issued under
12    this section.              No   license renewal shall be granted if an
13    applicant for a renewed license does not satisfy, or no longer
14    satisfies, the eligibility criteria for a new license set forth
15    in subsections (a) through (d).                         As a precondition   for the
16    renewal of licenses issued under this section, the chief of
17    pglice of each county may establish reasonable'continuing
18    education, training, and certification requirements, including
19    requirements pertaining to the safe handling of firearms and
20    shooting proficiency.                    A nonrefundable      fee of $50 shall be
21    charged for each license renewal application submitted under


      2023-2744 SB1230 CDl SMA-2.dOCX                                                                   56

      HllﬁlﬂﬂllﬁWWII“W!{IIVIIHWIWIMIIWIIHWIIIWWWMWIIVI   MW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 57 of 77 PageID.128
        Page57                                                            1230
                                                                          s-D-z  S.B. NO. HI11
                                                                                                         C£l1


       this section.                 The fee          shall be chargeable by and payable to the
       appropriate county and shall be used for expenses related to
      police services.                      The     issuing authority shall waive the fee
       required by this subsection upon a showing of financial hardship
      by the applicant.

                 (q)       No    person carrying a firearmggursuant to a license
       issued under this section shall intentionally, knowingly, or
      recklessly carry more than one firearm on the licensee's person
      at one time.
10               (r)       A    license issued by the chief of police of a county
11    within the State under subsection (a) to carry a pistol or
12    revolver and ammunition concealed on the licensee's person shall
l3    be valid           for use in each county within the State."
14              SECTION 8.               Section 134—13, Hawaii Revised Statutes, is
15    amended to read as                      follows:
16               "§134-13            Revocation of permits[T] and licenses.                        (a)     All
17    permits and licenses provided for under this part                                    [may]   shall be
18    revoked[T—éer—geeé—eauseT] by the                                    issuing authority [er], and
l9    may be        revoked by [ehe—ﬁaége—eé] any court[T],                             if the issuing
20    authority or court determines that thqggermit or license is
21    subject to revocation because the permit or license holder does


      2023—2744 SB1230 CD1 SMA-2.dOCX                                                                            57

      HIMIEIHIII“HEMWINMlllllHIVHIVIMIIWWIWHIIHIWIWI\llﬂﬂ!WIMIUIWNIWIIII
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 58 of 77 PageID.129
        Page58                                                            1230
                                                           SB. NO. H£l1    8.0-2
                                                                           CI11


       not satisfy, or no longer satisfies, the applicable
       qualifications or reguirements associated with the permit or
       license.
               (b)    If the issuing authority determines that a permit or
       license is subject to revocation, the issuing authority shall
      notify the permit or license holder of the determination in
      writing, stating the grounds for the determination and informing
      the permit or license holder of the right to seek a hearing
      before the issuing authority regarding the determination before
10    revocation.          Unless the permit or license holder submits a
11    request for a hearing in writing to the issuing authority no
12    later than thirty days following the date of the written notice
13    that the permit or license is subject to revocation, the permit
14    or license shall be immediately revoked by the issuing
15    authority.         Any hearing regarding a determination on whether a

l6    Egrmit or license is subject to revocation shall constitute a
17    contested case hearing for purposes of Chapter 91.          A person or

18    entigy aggrieved by a revocation under this section may apply
19    for judicial review in state circuit court in accordance with
20    section 91—14.




      2023-2744 SB1230 CD1 SMA-2.dOCX                                              58

      JIll/ﬂWWIW)lllﬂlmlmmMl“WWWll“WlllWIWWMMIIIUIIWWIII
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 59 of 77 PageID.130
       Page59                                                             1230
                                                                     S.B. NO. 8m
                                                                              HI11
                                                                                        C£l1


               (c)     If a permit or license is revoked pursuant to this
       section, the former permit or license holder shall return the
      pgrmit or license to the issuing authority within forty—eight
      hours following receipt of the notice of revocation."
              SECTION 9.          Section 134-17, Hawaii Revised Statutes, is
      amended to read as              follows:
              "§134-17         Penalties.          (a)        If any person [gives—§a%se


10

11

12    evééeaee—eeaeerﬁéHg—Eheir]                   intentionally, knowingly, or
13    recklessly makes any materially false, fictitious, or fraudulent
14    statement or representation in connection with any of the
15    requirements of this part, that person shall be guilty of a
16    misdemeanor; provided that                   if any person intentionally,
17    knowinglyl or recklessly makes any materially false,                         fictitious,
18    or fraudulent statement or representation regarding the person‘s
19    psychiatric or criminal history in [eempiying]>connection with
20    any of the requirements of                   this part, that person shall be
21    guilty of a class C felony.

      2023-2744 SB1230            CD1 SMA-2.dOCX                                               59

      IIIMIHIHIHIIIWHIMWHWIIMHIMMIMMWWWWHIIHHIIWHIEII‘IHIII
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 60 of 77 PageID.131
       Pageso                                                              N O                  _x       (A)




                                                                       S.B. NO.                 0.1m F3939     _\_XN




                                               .                   .
             [HE                        1          a                           E   ;   J   a;        J




             +e+1    (    )     Any person who violates [seeééen]:

             (   )   Section 134—2,         134—4,       134—10,       [er] l34-l3(c), or l34-
                     15       shall be guilty of a misdemeanor[T——Any—pe¥sea—whe
                     vieia£es—see%éea]L

             (2)     Section l34—3(a) or 134—9(q) shall be guilty of a
                     petty misdemeanor; or
             (   )   Section 134—3(b) shall be guilty of a petty
10                   misdemeanor and the               firearm shall be confiscated as
11                   contraband and disposed of,               if the firearm is not
12                   registered within five days of the person receiving
l3                   notice of the violation."
14           SECTION 10.           Section 134—18, Hawaii Reviséd Statutes, is
15    amended to read as            follows:
l6           "§134-18           Qualified immunity for physicians, psychologists,
17     [ail psychiatrists, physician assistants, or advanced practice
18    registered nurses who provide information on permit or license
19    applicants.             There shall be no civil liability,for any

20    physician, psychologist, [er] psychiatrist, physician assistant,
21    or advanced practice registered nurse who provides information


      2023-2744 SB1230 CD1 SMA-2.dOCX                                                                                  60

      HEMMlWM“IMMIINIWIWWWI\IIIWIWWHIHIMIWIHIIWIWH
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 61 of 77 PageID.132
                                                                               ‘

        Page 61                                                                           1230
                                                                          SB. NO.         8.0-2
                                                                                          H111
                                                                                          C£l1


      or renders an opinion in response to an inquiry made for
      purposes of issuing a firearm permit under section 134—2L
      issuing or renewing a license under section 134—9, or [éef
      purpeses—eé]               investigating the continuing mental health of the
      holder of a valid firearm permit or license; provided that the
      physician, psychologist, [sf] psychiatrist,4physician assistant,
      or advanced practice registered nurse acted without malice."
                SECTION          ll.       Section 707—716, Hawaii Revised Statutes, is
      amended by amending                      subsection (2) to read as follows:
10               "(2)        Terroristic threatening in the first degree is a
ll    class C felony[T]; pyovided that terroristic threatening in the
12    first degree is a class B felony if committed with a firearm as
l3    defined in section 134—1, whether the firearm was loaded or not,
14    and whether operable                       or not, or a simulated firearm, while in
15    one     of the locations or premises listed in section 134-A(a)."
16              SECTION 12.                Section 846-2.7, Hawaii Revised Statutes, is
l7    amended by amending                      subsection (b) to read as follows:
18              "(b)         Criminal history record checks may be conducted by:
l9               (1)      The department                 of health or its designee on operators
20                        of adult foster homes for individuals with
21                        developmental disabilities or developmental


      2023—2744 SB1230 CD1 SMA-2.dOCX                                                             61

      (ﬂlf‘lﬂlﬂllﬂlﬂlﬂﬁlﬁﬂﬂllﬂlﬂllﬂmﬂlﬂl!WM!"W!EmWI(WWI(llﬂ(WIMMHIIWWII
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 62 of 77 PageID.133
       Page62
                                                                          S.B. NO. HI11     35392

                                                                                            C£l1


                           disabilities domiciliary homes and their employees, as
                           provided by section 321—15.2;
                 (2)       The department                 of health or its designee on
                           prospective employees, persons seeking to serve as
                           providers, or subcontractors in positions that place
                           them in direct                 contact with clients when providing
                           non—witnessed direct mental health or health care

                           services as provided by section 321—17l.5;
                 (3)       The department                of health or its designee on all
10                         applicants for licensure or certification for,
11                         operators for, prospective employees, adult
12                        volunteers, and all adults, except adults in care, at
13                        healthcare facilities as defined in section 321—15.2;
14                         The department                of education on employees, prospective
15                         employees, and teacher trainees                 in any public school
l6                         in positions that necessitate close proximity to
17                         children as provided by section 302A-601.5;
l8                        The      counties on employees and prospective employees
l9                        who may be             in positions that place them in close
20                        proximity to children in recreation or child care
21                        programs and services;


      2023—2744 SB1230 CD1 SMA-2.dOCX                                                               62

      MIMIHNllﬂlllllIlliHEIINIWHHIWIWMHIIIMIIHIWIMMHI‘I\llWlWﬂNHllWﬂllﬂ
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 63 of 77 PageID.134
       Page63
                                                        S.B. NO. HI11       35392

                                                                            C£l1


                    The   county liquor commissions on applicants for liquor
                    licenses as provided by section 281-53.5;
             (7)    The   county liquor commissions on employees and
                    prospective employees involved in liquor
                    administration, law enforcement, and liquor control
                    investigations;
                    The department       of human services on operators and
                    employees of child caring institutions,       child placing
                    organizations, and foster boarding homes as provided
10                  by section 346—17;
11                  The department       of human services on prospective
12                  adoptive parents as established under section
13                  346-19.7;
14          (10)    The department       of human services or its designee on
15                  applicants to operate child care facilities, household
16                  members    of the applicant, prospective employees of the
17                  applicant, and new employees and household members of
18                  the provider after registration or licensure as
19                  provided by section 346—154, and persons subject to
20                  section 346-152.5;




      2023—2744 SB1230 CD1 SMA-2.dOCX                                               63

      (WWWWIWWWWINIIWWINHHIHIWIHIWHIWIN\WHIIIIIIIWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 64 of 77 PageID.135
       Page64                                                              N O                             (A)




                                                                                     SB. NO.        CIW‘


                                                                                                           F’C’U   _x_\N




                              The department                      of human services on persons exempt
                              pursuant to section 346-152 to be eligible to provide
                              child care and receive child care subsidies as
                              provided by section 346—152.5;
                (12)          The department                      of health on operators and employees of
                              home and community—based case management                      agencies and
                              operators and other adults, except for adults in care,
                              residing in community care foster family homes as
                              provided by section 321—15.2;
10              (l3)          The department                      of human services on staff members of
11                            the Hawaii youth correctional facility as provided by
12                            section 352—5.5;
l3              (l4)          The department                      of human services on employees,
14                            prospective employees, and volunteers of contracted
15                            providers and subcontractors in positions that place
l6                            them in close proximity to youth when providing

l7                            services on behalf of the office or the Hawaii youth
18                            correctional facility as provided by section 352D-4.3;
l9              (15)          The      judiciary on employees and applicants at detention
20                            and shelter facilities as provided by section 571—34;




      2023-2744 SB1230 CD1 SMA-2.dOCX                                                                                      64

      1lllHlHI“IIHI||||WINWHII‘IIIHMI‘\llH‘l‘lVlllﬂNIMMIWIMIHWIWWIIHII‘IHIIWEWNII!
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 65 of 77 PageID.136
        Page65
                                                         S.B. NO. H£l1     35392

                                                                           CI11


            (l6)    The department      of public safety on employees and
                    prospective employees who are directly involved with
                    the treatment and care of persons committed to a
                    correctional facility or who possess police powers
                    including the power of arrest as provided by section
                    353C—5;

            (l7)    The board of private        detectives and guards on
                   applicants for private detective or private guard
                    licensure as provided by section 463—9;
10                 Private schools and designated organizations on
11                 employees and prospective employees Who may be          in
12                 positions that necessitate close proximity to
13                 children; provided that private schools and designated
14                 organizations receive only indicatioﬁs of the states
15                 from which the national criminal history record
16                 information was provided pursuant to‘section 302C—l;
17          (l9)   The public     library system on employees and prospective
18                 employees whose positions place them in close

19                 proximity to children as provided by section
20                 302A-60l.5;




      2023—2744 SB1230 CD1 SMA-2.dOCX                                              65

      WWIIIMHIIIWWIMWWWHIM"WWWIWMWIIHIIUIWIIMWII)
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 66 of 77 PageID.137
       Page66
                                                     S.B. NO. H£l1       35392

                                                                         C£l1


           (20)   The   State or any of its branches,    political
                  subdivisions, or agencies on applicants and employees
                  holding a position that has the same type of contact
                  with children, vulnerable adults, or persons committed
                  to a correctional facility as other public employees
                  who hold positions    that are authorized by law to
                  require criminal history record Checks as a condition
                  of employment as provided by section 78—2.7;
           (21)   The department   of health on licensed adult day care
10                center operators, employees,     new employees,

11                subcontracted service providers and their employees,
12                and adult volunteers as provided by section 321—15.2;

13         (22)   The department   of human services on purchase of
14                service contracted and subcontracted~service providers
15                and their employees serving clients of the adult

l6                protective and community services branch, as provided
17                by section 346—97;
18         (23)   The department   of human services on foster grandparent
19                program, senior companion program, and respite
20                companion program participants as provided by section

21                346-97;


      2023—2744 SB1230 CD1 SMA-2.dOCX                                            66

      Wll!WImWWMillWWWWWWWWW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 67 of 77 PageID.138
       Page67                                                                          _l
                                                                                            N (A) O

                                                                   SB; NO.             0.1.0)

                                                                                                C’C’U   _\_xN




              (24)      The department              of human services on contracted and
                        subcontracted service providers and their current and
                        prospective employees that provide home and community—
                        based services under section 1915(c)‘of the Social

                        Security Act,             title 42 United States Code section
                        l396n(c), or under any other applicable section or
                        sections of the Social Security Act for the purposes
                        of providing home and community—based services,                     as

                        provided by section 346—97;
10            (25)      The department              of commerce and consumer affairs on
11                      proposed directors and executive officers of a bank,

12                      savings bank, savings and loan association,              trust
l3                      company, and depository financial              services loan
14                      company as provided by section 412:3—201;

15            (26)      The department              of commerce and consumer affairs on
l6                      proposed directors and executive officers of a

17                      nondepository financial services loan company as
18                      provided by section 412:3—301;
l9            (27)      The department              of commerce and consumer affairs on the
20                      original chartering applicants and proposed executive



      2023—2744 SB1230 CD1 SMA—2.dOCX                                    ‘

                                                                                                                67

      IWWHMIHIIWMMINmIllmWlll‘WMMMIMl\IllWﬂNMW1“NIWMIHINMIIIHIIK
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 68 of 77 PageID.139

                                                      SB. No. 33%        H£11
                                                                         CI11


                   officers of a credit union as provided by section
                   412:10-103;
           (28)    The department     of commerce and consumer affairs on:
                   (A)   Each principal      of every non—corporate applicant
                         for a money transmitter license;
                   (B)   Each person who upon approval      of an application
                         by a corporate applicant for a money transmitter
                         license will be a principal of the licensee; and
                   (C)   Each person who upon approval of an application

10                       requesting approval of a proposéd change in
11                       control of licensee will be a principal of the
12                       licensee,
13                 as provided by sections 489D-9 and 489D—15;

14         (29)    The department     of commerce and consumer affairs on
15                 applicants for licensure and persons licensed under
16                 title 24;
17         (30)    The Hawaii    health systems corporation on:
18                 (A)   Employees;

19                 (B)   Applicants seeking employment;
20                 (C)   Current or prospective members of the corporation
21                       board or regional system board; or


      2023-2744 SB1230      CD1 SMA-2.dOCX                                      68

      WWII“WWIWIHHWMWWWIIH”WWW“\IIWWIMWNIIWW“ll
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 69 of 77 PageID.140
       Page69
                                                                         S.B. NO. 3392
                                                                                  HI11
                                                                                           CI11


                         (D)      Current or prospective volunteers, providers, or
                                  contractors,
                         in any of the corporation's health facilities as
                         provided by section 323F—5.5;
                         The department              of commerce and consumer affairs on:
                         (A)      An applicant             for a mortgage loan originator
                                  license, or license renewal; and
                         (B)      Each control person,               executive officer, director,
                                  general partner, and managing member of an
10                                applicant for a mortgage loan originator company
11                                license or license renewal,
12                       as provided by chapter 454F;

13                       The    state public charter school commission or public
l4                       charter schools on employees, teacher trainees,
15                       prospective employees, and prospective teacher
16                       trainees in any public charter school for any position
17                       that places them in close proximity to children, as
18                       provided in section 302D-33;
19            (33)       The    counties on prospective employees who work with
20                       children, vulnerable adults, or senior citizens in
21                       community—based programs;



      2023-2744 SB1230                CD1 SMA-2.dOCX                                              69

      MINIHIMIWIIENHIWIHEIHEWIIWIIIHIIIWIIV“WWIWHM‘IMINHIMWHI‘IMI!
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 70 of 77 PageID.141
       Page70
                                                              SB. NO. HI11       35392

                                                                                 C£l1


                      The   counties on prospective employees for fire
                      department positions that involve contact with
                      children or vulnerable adults;
             (35)     The   counties on prospective employees for emergency
                      medical services positions that involve contact with
                      children or vulnerable adults;
             (36)     The   counties on prospective employees for emergency
                      management positions and community volunteers whose

                      responsibilities involve planning and executing
10                    homeland security measures            including viewing,
11                    handling, and engaging in law enforcément or
12                    classified meetings and assisting vulnerable citizens
13                    during emergencies or crises;
14           (37)     The   State and counties on employees, prospective
15                    employees, volunteers, and contractors whose position

16                    responsibilities require unescorted access to secured
17                    areas and equipment related to a traffic management

18                    center;
19           (38)     The   State and counties on employees and prospective
20                    employees whose positions involve the handling or use

21                    of firearms for other than law enforcement purposes;


      2023-2744 SB1230 CD1 SMA-2.dOCX                                                    7O

      mWlﬁﬂlﬂlﬂﬂWV"NHIﬂWWmMlﬂllHRWI“WIWIiHMlﬂHMIWEMWWHIlW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 71 of 77 PageID.142
        Page71
                                                                                    S.B. NO. 339                  _x_xN




                                                                                                      C);   .00




                            The      State and counties on current and prospective
                            systems analysts and others involved in an agency's

                            information technology operation whose position
                            responsibilities provide them with access to
                            proprietary, confidential, or sensitive information;
               (40)         The department                    of commerce and consumer affairs on:
                             (A)       Applicants for real estate appraiser licensure or
                                       certification as provided by chapter 466K;
                             (B)       Each person who owns more than ten per cent                      of an
10                                     appraisal management company who is applying for
11                                     registration as an appraisal management company,
12                                     as provided by section 466L-7; and

13                           (C)       Each of the                controlling persons of an applicant
14                                     for registration as an appraisal management
15                                     company, as provided by section 466L—7;

l6             (41)         The department                    of health or its designee on all
17                          license applicants, licensees, employees, contractors,
18                          and prospective employees                           of medical cannabis
19                          dispensaries, and individuals permitted to enter and
20                          remain in medical cannabis dispensary facilities as




      2023—2744 SB1230 CD1 SMA-2.dOCX                                                                                     71

      WWIHHIIMMHIWHIEﬂNWWﬂl!HIIIMMIH‘IIWMHHHIIII‘HIH\lWllllHHﬂﬂl‘ll‘lHlllWﬂll
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 72 of 77 PageID.143
       Page72
                                                                                        S.B. NO. 3392

                             provided under sections 329D—15(a)(4) and
                             329D-l6(a)(3);
                (42)         The department                    of commerce and consumer affairs on
                             applicants for nurse licensure or license renewal,
                             reactivation, or restoration as provided by sections
                             457-7, 457—8, 457-8.5, and 457-9;

                (43)         The      county_police departments on applicants for
                             permits to acquire firearms pursuant to section 134—2
                              [aﬁé]L on individuals registering their firearms
10                           pursuant to section 134—3[+], and on applicants for
11                           new or renewed                    licenses to carry a pistol or revolver
12                           and ammunition pursuant                              to section 134—9;
13                           The department                    of commerce and consumer affairs on:
l4                           (A)        Each of the controlling persons                            of the applicant
15                                      for licensure as an escrow depository, and each
16                                      of the officers, directors, and principals who
l7                                      will be in charge of the escrowvdepository's
18                                      activities upon licensure; and
l9                           (B)        Each of the                 controlling persons of an applicant
20                                      for proposed change in control of an escrow
21                                      depository licensee, and each of the officers,

                                                                                               '


      2023—2744 SB1230 CD1 SMA—2.dOCX                                                                                 72

      lﬂiﬂlﬂﬂlﬂﬂllwﬂlﬂﬂlﬁﬂlﬂlﬂlﬂﬁmﬂ“W“IllWll“lllllﬂWﬂlﬂﬂlﬂlﬂWﬂlﬂlﬂlﬂﬂﬂﬂlﬂlﬂlﬂﬂm
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 73 of 77 PageID.144
       Page73
                                                                        S.B. NO. 3392
                                                                                 HI11
                                                                                           C£l1


                                 directors, and principals who will be in charge
                                 of the licensee's activities upon approval of the
                                 application,
                        as provided by chapter 449;

              (45)      The department             of taxation on current or prospective
                        employees or contractors who have access                    to federal
                        tax information in order to comply with requirements
                        of federal law, regulation, or procedure,                    as provided

                        by section 23l-l.6;
10            (46)      The department             of labor and industrial relations on
11                      current or prospective employees or contractors who
12                      have access to federal                    tax information in order to
13                      comply with requirements of federal law,                    regulation,
14                      or procedure, as provided by section 383—110;
15           (47)       The department             of human services on current or
16                      prospective employees or contractors who have access
l7                      to federal tax information in order to comply with
18                      requirements of federal law, regulation, or procedure,
19                      as provided by section 346—2.5;

20                      The    child support enforcement agency on current or
21                      prospective employeesL or contractors who have access


      2023-2744 SB1230 CD1 SMA-2.dOCX                                                              73

      l\IIWIHMMWMWlﬂﬂlﬂlﬂlﬂﬂlWIHIIIHNIMIIWWIiWMIIHIIWWMIHIMWIVW
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 74 of 77 PageID.145
       Page74                                                             1230
                                                                              S.B. NO. HI11
                                                                          s-D-2

                                                                                           C£l1


 1                   to federal tax information in order to comply with
 2                   federal law, regulation, or procedure, as provided by
 3                   section 576D—ll.5;
 4          (49)     The department                   of the attorney general on current or
 5                   prospective employees or employees or agents of
 6                   contractors who have access to federal tax information
 7                   to comply with requirements of federal law,
 8                   regulation, or procedure, as provided by section 28—
 9                   l7;
10     [%](50)[+]The department of commerce and consumer affairs on
11                   each control person, executive officer,                       director,
12                   general partner, and managing member of an installment
13                   loan licensee, or an applicant for an installment loan
14                   license,            as provided in Chapter 480J;

15     [+1(51)[+]The University of Hawaii on current and prospective
16                   employees and contractors whose dutiés include

17                   ensuring the security of campus facilities and
18                   persons; and
19     [+](52)[+]Any other organization, entity, or the State,                           its
20                   branches,             political subdivisions, or agencies as may
21                   be authorized by state                           law."


      2023-2744 SB1230 CD1 SMA—2.dOCX                                                             74

      MIMIAIIIMWIIIWWMWM   I   IHIHWIIHHIWWWMMIIIWW   HI   "I W   W
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 75 of 77 PageID.146
       Page75                                                                     1230
                                                                S.B. NO. HI11    s-D-2

                                                                                 CI11


              SECTION 13.          Act 30, Session Laws of Hawaii 2022, is
      amended by amending              section 5 to read as follows:
              "SECTION 5.          This Act shall take effect upon its approval[7




      eé£ee€é¥e—éaee—e§—%héseAe%]."

              SECTION 14.          Every provision in this Act and every
      application of each provision in this Act is severable from each
10    other.       If any application of any provision in this Act to any
11    person or group of persons or circumstances is determined by any
12    court to be invalid, the remainder of this Act and the
l3    application of the Act's provisions to all other persons and
l4    circumstances shall not be affected.                    All constitutionally valid
15    applications of this Act shall be severed from any applications
l6    that a court determines to be invalid or unenforceable, leaving
l7    the valid applications in force, because                   it is the legislature's
18    intent that all valid applications shall remain in force.
19            SECTION 15.          This Act shall be construed to be enforceable
20    up to but no further than the maximum possible                   extent consistent
21    with federal law and constitutional requirements.


      2023—2744 SB1230 CD1 SMA-2.dOCX                                                    75

      HIIHIWMHHIIWWHNWIWI‘IWWININWWMWNH"\IIMIWNIWHI“WWI   W
     Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 76 of 77 PageID.147
        Page76                                                            1230
                                                        S.B. NO.          s-D-z
                                                                          0.1 DU




              SECTION     l6.     In codifying the new sections added by section
       2   of this Act, the revisor of statutes shall substitute
       appropriate section numbers for the letters used in designating
       the new sections in this Act.
              SECTION     l7.     Statutory material to be repealed is bracketed
      and stricken.         New    statutory material is underscored.
             SECTION      l8.     This Act shall take effect on July 1, 2023;
      provided that:
              (l)   Sections 4 and 7 shall take effect on January l, 2024;
10                  and

11            (2)   The amendments made       to section 846—2-7(b), Hawaii
12                  Revised Statutes, by section 12 of this Act shall not
13                  be    repealed when section 28 of Act 278, Session Laws
14                  of Hawaii 2022, takes effect on January l, 2024.




      2023-2744 SB1230 CD1 SMA-2.dOCX                                              76

      IMMWMWWWWWIWMNWIWWWWWIWIMIWMHIIHIMIIIWM
Case 1:23-cv-00265-LEK-WRP Document 1-1 Filed 06/23/23 Page 77 of 77 PageID.148

                                                                     S.B. NO. 3392                      no
                                                                                                  .0:




    Report Title:
    Firearms; Permits; Licenses; Enforcement
    Description:
    Prohibits firearms in certain locations and premises. Requires
    possession and disclosure of a license to carry. Prohibits
    leaving an unsecured firearm in a vehicle unattended. Prohibits
    consuming or being under the influence of alcohol, an
    intoxicating liquor, or a controlled substance when carrying a
    firearm. Prohibits carrying or possessing firearms on certain
    private property without express authorization. Requires annual
    reports from the department of the attorney general on carry
,   licenses. Amends the requirements for, and revocation of,
    firearms permits and licenses. Amends the disqualification of
    persons from owning, possessing, or controlling a firearm.
    Expands the qualified immunity for health care providers who
    provide information on firearms applicants to include physician
    assistants and advanced practice registered nurses. (CD1)


    The summary description of legislation appearing on this page is for informational purposes only and is
    not legislation or evidence of legislative intent.




    2023-2744 SB1230           CD1 SMA-2.dOCX

    WWIlﬂlMlmmmWWmWWWMWMWWW
